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 8
                           UNITED STATES DISTRICT COURT
 9
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11
      Robert Payne, an Individual,                   Case No.
12

13                                                   COMPLAINT FOR
              Plaintiff,
                                                     DECLARATORY AND
14                                                   INJUNCTIVE RELIEF
      vs.
15

16    ADP, Inc., a Delaware Corporation,
17            Defendant.
18           Plaintiff Robert Payne ("Payne") hereby brings this complaint against
19   Defendant ADP, Inc. ("ADP") as follows:
20                                    INTRODUCTION
21           1.     Payne resided in and worked for ADP in California from the start of his
22   employment in January 2012 through his resignation in July 2021.
23           2.     California law prohibits employers from requiring employees to enter
24   agreements whereby they are restrained from engaging in a lawful profession, trade
25   or business of any kind and regards such agreements as unreasonable restraints on
26   trade and against public policy. Cal. Bus. & Prof. Code §§16600 and 17200.
27   California law also prohibits employers from requiring employees to enter
28   agreements requiring them to adjudicate their disputes outside of California or
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 1   otherwise deprive them of the substantive protection of California law. Cal. Lab.
 2   Code §925.
 3         3.     In connection with his employment, ADP required Payne to enter into
 4   restrictive covenant agreements containing non-compete and non-solicitation
 5   provisions restraining his ability to engage in lawful business after his employment
 6   with ADP ended. Those same agreements also contained provisions subjecting any
 7   disputes to New Jersey venue and New Jersey law.
 8         4.     Unlike California’s statutes, which deem such clauses void as a matter
 9   of law, New Jersey has no statutory prohibition on the use of non-compete
10   agreements. To the contrary, New Jersey case law permits New Jersey Courts to
11   enforce a non-complete “if it simply protects the legitimate interests of the employer,
12   imposes no undue hardship on the employee and is not injurious to the public.” Maw
13   v. Advanced Clinical Communications, Inc. (2004) 179 N.J. 439, 447; see also,
14   Community Hospital Group, Inc. v. More (2005) 183 N.J. 36, 41-43.
15         5.     Without the relief requested in this Complaint, ADP will use these
16   contractual provisions to haul Payne into Court in New Jersey and ask a New Jersey
17   Court to use New Jersey law to enforce what would otherwise be a void non-compete
18   clause arising out of Payne’s employment in California; ADP has done so in
19   numerous other instances with other former employees.
20         6.     As is more fully set forth herein, the employment agreements at bar
21   meet the requirements of California Labor Code §925, and Payne is therefore
22   entitled to injunctive relief and reasonable attorney’s fees for enforcing his rights
23   under Section 925 to invalidate the choice of law and venue provisions in those
24   agreements. In addition, ADP’s attempts to restrict Payne’s future employment
25   efforts through void and unenforceable non-compete and non-solicitation
26   agreements entitle Payne to declaratory and injunctive relief and recovery of his
27   reasonable attorney’s fees. Cal. Bus. & Prof. Code §§16600 and 17200; AMN
28   Healthcare, Inc. v. Aya Healthcare Services, Inc., 28 Cal. App. 5th (2018).
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 1                                      THE PARTIES
 2         7.     Payne is now and was at all relevant times an Individual residing in
 3   Huntington Beach, California. Payne lived and worked in California during the
 4   entirety of his employment with ADP.
 5         8.     ADP is a Delaware Corporation. ADP identifies its principal place of
 6   business as being located in Roseland, New Jersey and it operates out of offices and
 7   employs individuals throughout the country.
 8                             JURISDICTION AND VENUE
 9         9.     This is an action for inter alia declaratory relief pursuant to 28 U.S.C.
10   § 2201 and Rule 57 of the Federal Rules of Civil Procedure to resolve an actual
11   controversy between Payne and ADP as set forth herein. This Court has jurisdiction
12   over the subject matter of this action pursuant to 28 U.S.C § 1332, because there is
13   complete diversity of citizenship between Payne, on one hand, and ADP, on the
14   other, and there is more than $75,000 in controversy. The amount in controversy
15   exceeds $75,000, exclusive of interest and costs, given Payne’s salary, benefits and
16   earning capacity exceed $75,000. Payne’s attorney’s fees, which are recoverable
17   under California law for prosecuting this action and defeating ADP’s efforts to
18   enforce the underlying agreements, will exceed $75,000.
19         10.    This Court has personal jurisdiction over ADP as it is now and was at
20   all relevant times doing business in the State of California in the Counties of Los
21   Angeles and Orange, including the business dealings asserted in this action.
22         11.    Venue is proper pursuant to 28 U.S.C. § 1391 because the action is
23   brought in a judicial district in California where ADP is now and was at all relevant
24   times doing business and a substantial part of the events or omissions giving rise to
25   the claims occurred in this judicial district.
26                               FACTUAL BACKGROUND
27         12.    Payne began working for ADP in or about January 2012 as a Sales
28   Representative. He held this position, which was also referred to as a “District
                                  3
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 1   Manager,” throughout his employment.
 2         13.    Prior to beginning his employment with ADP, Payne signed a Sales
 3   Representative Agreement in December 2011 (attached hereto as Exhibit A). The
 4   Sales Representative Agreement contained a Non-Solicitation, Non-Disclosure,
 5   Non-Use and Non-Hire provision. The Sales Representative Agreement provided it
 6   was to be “construed and interpreted in accordance with the laws of the State of New
 7   Jersey…applicable to contracts made and to be performed entirely within such
 8   State;” it also stated the “courts of New Jersey and the United States District Court
 9   for New Jersey shall have jurisdiction over the parties with respect to any dispute or
10   controversy between them arising under or in connection with [the Sales
11   Representative Agreement].”
12         14.    At the same time Payne signed the Sales Representative Agreement, he
13   also signed a Non-Disclosure Agreement (attached hereto as Exhibit B). The Non-
14   Disclosure Agreement contained similarly worded non-solicitation and non-
15   disclosure provisions as the Sales Representative Agreement. It also contained a
16   similarly worded choice of law provision stating the agreement “shall be governed
17   by and construed in accordance with, the laws of the State of New Jersey applicable
18   to contacts made and to be performed entirely within such State;” however, the Non-
19   Disclosure Agreement did not contain a choice of venue provision.
20         15.    In or about September 2014, ADP required Payne to sign a Restrictive
21   Covenant Agreement in order to receive certain stock compensation (the “2014
22   RSA”)(attached hereto as Exhibit C). The 2014 RSA contained non-compete and
23   non-solicitation provisions preventing Payne from inter alia holding employment
24   with a competitor of ADP for 12 months after his employment ended. The 2014
25   RSA also contained a “Choice Of Law, Venue and Jurisdiction” clause stating the
26   agreement would be governed by the laws of the State of New Jersey and requiring
27   Payne (but not ADP) to bring challenges in state or federal court in New Jersey. The
28   2014 RSA specified it was made “in consideration of [Payne’s] initial or continuing
                                  4
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 1   employment with ADP” and was “meant to supplement” any prior agreements
 2   containing “the same or similar covenants.”
 3         16.   ADP presented Payne with a series of similarly worded restrictive
 4   covenant agreements connected to Payne’s ongoing employment and receipt of stock
 5   compensation in subsequent years. This included restrictive covenant agreements
 6   Payne was required to sign in September 2016 (the “2016 RSA”) (attached hereto as
 7   Exhibit D), October 2017 (the “2017 RSA”) (attached hereto as Exhibit E) and
 8   September 2018 (the “2018 RSA”) (attached hereto was Exhibit F).
 9         17.   The last such agreement ADP required Payne to sign in connection with
10   his ongoing employment and receipt of stock compensation was a restrictive
11   covenant agreement Payne signed on or about April 26, 2021 (the “2021 RSA”)
12   (attached hereto as Exhibit G). The 2021 RSA provided, in pertinent part:
13
                     RESTRICTIVE COVENANT AGREEMENT
14

15               I am currently employed by Automatic Data Processing,
                 Inc., or one of its subsidiaries or affiliated companies
16               (collectively, “ADP”), as an employee who enjoys
                 substantial compensation and benefits from ADP,
17               including participation in its 2018 Omnibus Award Plan,
18               and as an ADP employee, I have had and will have access
                 to Confidential Information, proprietary information and
19               trade secrets about the Business of ADP, ADP’s
                 operations, systems, techniques, software, and processes,
20               its Clients, Business Partners, Vendors, and other unique
                 trade and business methods, all of which are valuable
21               assets of ADP that are developed at great effort and
22               expense to ADP.

23                                          …
24            NOW, THEREFORE, in consideration of my continuing
25            employment, my participation in the 2018 Omnibus
              Award Plan and the receipt by me of valuable stock in
26            ADP, ADP’s disclosure to me of proprietary information,
              Confidential Information, and trade secrets to allow me to
27            perform my duties for ADP, the mutual benefits conferred
              here, and for good and valuable consideration (the receipt
28            and sufficiency of all of which I hereby acknowledge, I
                                          5
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                  agree as follows:
 1

 2                                             …

 3                4. Non-Competition. I agree that during my employment
                  and for a period of twelve (12) months from the voluntary
 4                or involuntary termination of my employment for any
 5                reason or no reason, and with or without cause or for no
                  cause, I will not, directly or indirectly, own, manage,
 6                operate, join, control, finance, be employed by or with, or
                  participate in any manner with a Competing Business1
 7                anywhere in the Territory2 where I (i) will provide the
                  same or similar services to a Competing Business as those
 8                which I provided to ADP while employed, or (ii) use,
 9                disclose or disseminate ADP’s Confidential Information3

10   1
            Competing Business is defined to mean “any individual (including [Payne]),
11   corporation, limited liability company, partnership, joint venture, association, or
     other entity, regardless of form, that is engaged in any business or enterprise that is
12   the same as, or substantially the same as, that part of the Business of ADP in which
     [Payne has] worked or to which [Payne has] been exposed during the last two years
13   of [his] employment with ADP (regardless of whether [he] worked only for a
     particular segment of that part of the business in which [he] worked—for example,
14
     business segments based on the number of employees a Client has or a particular
15   class of business using an ADP product or service).”
     2
16         Territory is defined to mean “the geographic area where [Payne] worked,
     represented ADP, or had Material Business Contact with ADP’s Clients in the two
17   (2) year period preceding the termination of [his] employment with ADP.”
18   3
            Confidential Information is broadly defined to mean “information, or any
19   compilation of information, known or possessed by [Payne] because of [his]
     employment at ADP that is created, compiled, received, or gathered by ADP or its
20   agents and is related to the Business of ADP, that is valuable to ADP, and which ADP
     endeavors to protect from disclosure or use by its competitors and others who could
21
     benefit from its use, whether in written, tangible, electronic or any other form or
22   media. Assuming the foregoing criteria are met, Confidential Information includes
     but is not limited to information about: ADP’s operations, products, business plans,
23   market strategies, and services; research and development of ADP products and
     services; ADP’s intellectual property and trade secrets; Creative Works, including
24   all publications, products, applications, processes, and software in any stage of
25   development; names and other listings of current or prospective Clients, Business
     Partners, and Vendors (including contact information that may be compiled in
26   computer databases that are not owned or controlled by ADP such as address books,
     personal digital assistants, smart phones, cloud storage services, and social and
27   business websites); proposals made to current or prospective Clients, Business
     Partners, and Vendors or other information contained in offers or proposals to such
28
     Clients, Business Partners, and Vendors; the terms of any arrangements or
                                               6
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                  or trade secrets. However, after the voluntary or
 1                involuntary termination of my employment for any reason
 2                and with or without cause, nothing shall prevent me from
                  owning, as an inactive investor, securities of any
 3                competitor of ADP which is listed on a national securities
                  exchange.
 4

 5                5. Non-Solicitation of and Non-Interference with
                  Clients, Business Partners, and Vendors.
 6
                         a. Clients: I agree that during my employment and
 7                for a period of twelve (12) months following the voluntary
                  or involuntary termination of my employment for any
 8                reason or no reason, and with or without cause or for no
 9                cause, I will not, either on my own behalf or for any
                  Competing Business, directly or indirectly, solicit, divert,
10                appropriate, or accept any business from, or attempt to
                  solicit, divert, appropriate, or accept any business from
11                any Client4, for the purpose of selling products or services
12
     agreements with Clients, Business Partners, and Vendors, including the amounts
13   paid for such services or how pricing was developed by ADP, the implementation of
     Client-specific projects, the identity of Business Partners and Vendors, and Business
14
     Partner and Vendor pricing information, the composition or description of future
15   services that are or may be provided by ADP; ADP’s financial, marketing, and sales
     information; technical expertise and know-how developed by ADP, including the
16   unique manner in which ADP conducts its business; employee lists, employee
     capabilities, confidential personnel information, prospective employee information,
17   and employee training information and practices; Personally Identifiable
18   Information; and Protected Health Information. Confidential Information also
     includes any information disclosed to ADP by a third party (including, without
19   limitation, current or prospective Clients, Business Partners, and Vendors) that ADP
     is obliged to treat as confidential. Confidential Information does not need to be
20   marked in any way to identify it as Confidential Information and does not lose its
     status as Confidential Information because similar information may be so marked
21
     while other Confidential Information is not. This definition of Confidential
22   Information excludes information that is or becomes known or generally available
     in the public domain through lawful means, other than through [Payne’s] act or
23   failure to act. This definition of Confidential Information and the use of the term
     Confidential Information in this Agreement are not meant to limit ADP’s rights
24   under applicable trade secrets laws, and ADP specifically reserves all of its rights
25   under all applicable laws concerning trade secrets.”
     4
26         Client is defined to mean “any individual, corporation, limited liability
     company, partnership, joint venture, association, or other entity, regardless of form,
27   and their employees or agents, or government or quasi-government entity, and their
     employees or agents, for: (i) whom ADP provides products or services in connection
28
     with the Business of ADP; (ii) whom ADP has provided products or services in
                                              7
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                  that compete with the Business of ADP: (i) whom I have
 1                solicited or contacted on behalf of ADP within the two (2)
 2                year period prior to the termination of my employment
                  with ADP, or (ii) about whom I have learned or been
 3                provided any confidential, proprietary or trade secret
                  information during my employment with ADP.
 4

 5                       b. Business Partners: I agree that during my
                  employment and for a period of twelve (12) months
 6                following the voluntary or involuntary termination of my
                  employment for any reason or no reason, and with or
 7                without cause or for no cause, I will not, either on my own
                  behalf or for any Competing Business, directly or
 8                indirectly, solicit, divert, appropriate, or accept any
 9                business from, or attempt to solicit, divert, appropriate, or
                  accept any business from any Business Partner5: (i) whom
10                I have solicited or contacted on behalf of ADP within the
                  two (2) year period prior to the termination of my
11                employment with ADP, or (ii) about whom I have learned
12                or been provided any confidential, proprietary or trade
                  secret information during my employment with ADP.
13
                        c. Vendors: I agree that during my employment
14                and for a period of twelve (12) months following the
                  voluntary or involuntary termination of my employment
15                for any reason or no reason, and with or without cause or
16
     connection with the Business of ADP within the one (1) year period prior to
17   [Payne’s] voluntary or involuntary termination of employment, for any reason, with
18   or without cause, from ADP; (iii) whom [Payne has] solicited, contacted, called
     upon, communicated with, or attempted to communicate with on behalf of ADP in
19   connection with the Business of ADP within the two (2) year period prior to [his]
     voluntary or involuntary termination of employment, for any reason, with or without
20   cause, from ADP; or (iv) about whom [Payne has] any Confidential Information or
     trade secret information.”
21
     5
22           Business Partner is defined to mean “any individual, corporation, limited
     liability company, partnership, joint venture, association, or other entity, regardless
23   of form, and their employees and agents, that is or has been in a commercial or
     business relationship with ADP (excluding Clients and Vendors), including, without
24   limitation, (i) referral sources or partners, resellers, brokers, distributors, licensees,
25   franchisees and marketing partners, (ii) implementation, integration and
     development partners, (iii) co-investors and joint venture partners, and (iv) any other
26   individual or entity whose products or services ADP purchases, acquires or licenses
     for use with, or redistribution to, a third party (including Clients). Business Partners
27   under this Agreement are not limited to individuals or entities that have exclusive
     relationships and/or contractual relationships with ADP.”
28
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                  for no cause, I will not induce or encourage or attempt to
 1                induce or encourage any Vendor6 to cease doing business
 2                with ADP within the United States of America or
                  materially alter their business relationship with ADP
 3                within the United States of America.
 4                6. Non-Solicitation of Employees. I agree that during
 5                my employment with ADP and for a period of twelve (12)
                  months following the voluntary or involuntary termination
 6                of my employment for any reason or no reason, and with
                  or without cause or for no cause, I will not, directly or
 7                indirectly, hire, solicit, recruit, or encourage to leave ADP,
                  any current employees of ADP or hire, solicit, recruit, or
 8                contract with employees who terminate their employment
 9                with ADP within twelve (12) months following my
                  termination date. This restriction shall only apply to ADP
10                employees located within the United States of America.
11                                             …
12
                  10. Choice of Law, Venue, and Jurisdiction. To the
13                extent permitted by the law of the state in which I reside,
                  the interpretation, validity, and enforcement of this
14                Agreement will be governed by the laws of the State of
                  New Jersey, without regard to any conflicts of law
15                principles. I agree that, to the extent permitted by the law
16                of the state in which I reside, any action by me to challenge
                  the enforceability of this Agreement must be brought or
17                litigated exclusively in the appropriate state or federal
                  court located in the State of New Jersey. I also agree that
18                any action by ADP to enforce this Agreement, as well as
19                any related disputes or litigation related to this Agreement
                  may be brought in the appropriate state or federal court
20                located in the State of New Jersey. I agree and consent to
                  the personal jurisdiction and venue of the federal or state
21                courts of New Jersey for resolution of any disputes or
                  litigation arising under or in connection with this
22                Agreement or any challenge to this Agreement and waive
23                any objections or defenses to personal jurisdiction or
                  venue in any such proceeding before any such court.
24
                                               …
25

26
     6
           Vendor is defined to mean “any individual, corporation, limited liability
27   company, partnership, joint venture, association, or other entity, regardless of form,
     or government entity that supplies materials or services to ADP for internal use.”
28
                                  9
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                  15. Entire Agreement and Validity of Terms. I agree
 1                that I do not rely, and have not relied, upon any
 2                representation or statement not set forth herein by ADP or
                  any of ADP’s agents, representatives, or attorneys, and
 3                that this Agreement may be changed only by a subsequent
                  agreement in writing signed by both Parties. I understand
 4                that I may have an existing agreement(s) with ADP,
 5                through acquisition of a prior employer or otherwise, that
                  may include the same or similar covenants as those in this
 6                Agreement, and acknowledge that this Agreement is
                  meant to supplement any such agreement(s) such that the
 7                covenants in the agreements that provide ADP with the
                  greatest protection enforceable under applicable law shall
 8                control, and that the parties do not intend to create any
 9                ambiguity or conflict through the execution of this
                  Agreement that would release me from the obligations I
10                have assumed under the protective covenants in any of
                  these agreements.
11

12         18.    At the time Payne executed the Sales Representative Agreement, Non-
13   Disclosure Agreement, 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA,
14   he resided and worked in California.
15         19.    Payne was not represented by legal counsel in negotiating any part of
16   the Sales Representative Agreement, Non-Disclosure Agreement, 2014 RSA, 2016
17   RSA, 2017 RSA, 2018 RSA or 2021 RSA.
18         20.    The 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA were
19   presented to Payne as non-negotiable prerequisites to receiving compensation in the
20   form of stock options.
21         21.    Throughout his employment with ADP, Payne resided in and worked
22   in California.
23         22.    Payne gave notice of his intention to resign ADP on July 12, 2021. At
24   the time of his resignation, Payne informed ADP he was going to work for Ceridian.
25         23.    While Payne was not aware of it at the time, ADP accepted Payne’s
26   resignation effective immediately and terminated him effective July 12, 2021.
27   Despite the fact Payne was terminated from ADP, ADP’s management continued to
28   contact Payne through July 14, 2021 to request his assistance in transitioning open
                                  10
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 1   opportunities to other sales representatives and contacting existing clients to discuss
 2   his transition. ADP did not tender Payne his final paycheck for earnings until July
 3   23, 2021, and that paycheck did not include any pay for July 13 or 14, 2021.
 4         24.    On July 19, 2021, Payne started work for Ceridian under the title of
 5   Account Executive – Major 2.
 6         25.    Nearly eight months after his resignation, on March 7, 2022, ADP sent
 7   Payne a letter citing to the Sales Representative Agreement, Non-Disclosure
 8   Agreement, 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA and
 9   concluding he could “not compete with ADP in the same Territory,” could “not
10   solicit ADP clients, prospects or referral sources with which [he] dealt while
11   employed by ADP,” could “not use or disclose ADP’s Confidential Information,”
12   and could “not solicit, assist, or encourage ADP associates to leave ADP.” The letter
13   likewise outlined “improper activities” that, according to ADP, would include
14   “competing with ADP in the same Territory, soliciting ADP’s employees, clients,
15   prospective clients, business partners or referral sources, or disclosing or using ADP
16   Confidential Information.”
17         26.    On March 17, 2022, Payne responded to ADP’s March 7, 2022 letter.
18   In the communication, Payne pointed out the non-compete, choice of law and choice
19   of venue provisions cited in the letter violated California law. Payne elected to void
20   the choice of law and venue provisions consistent with California Labor Code,
21   Section 925(b).
22         27.    Payne is informed believes and thereon states ADP has sent similar
23   letters to other former ADP employees and sued former ADP employees in New
24   Jersey alleging breaches of the very same type and kinds of agreements in efforts to
25   prevent those former employees from working for other companies in California.
26                             FIRST CLAIM FOR RELIEF
27                                DECLARATORY RELIEF
28         28.    Payne hereby incorporates by reference and re-alleges each of the
                                  11
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 1   foregoing allegations.
 2         29.    An actual, present, and justiciable controversy has arisen and now
 3   exists between Payne and ADP concerning the choice of law, exclusive jurisdiction,
 4   non-compete and non-solicitation provisions of employment agreements. See, 28
 5   U.S.C. §§ 2201, et seq.; Fed. R. Civ. P. 57.
 6         30.    California Business & Professions Code §16600 provides that, absent
 7   an express exception not present in this case, “every contract by which anyone is
 8   restrained from engaging in a lawful profession, trade, or business of any kind is to
 9   that extent void.”
10         31.     California Labor Code § 925 states as follows:
11                (a) An employer shall not require an employee who
                      primarily resides and works in California, as a
12                    condition of employment, to agree to a provision that
                      would do either of the following:
13
                      (1) Require the employee to adjudicate outside of
14                        California a claim arising in California.
15                    (2) Deprive the employee of the substantive
                          protection of California law with respect to a
16                        controversy arising in California.
17                (b) Any provision of a contract that violates subdivision
                      (a) is voidable by the employee, and if a provision is
18                    rendered void at the request of the employee, the
                      matter shall be adjudicated in California, and
19                    California law shall govern the dispute.
20                (c) In addition to injunctive relief and any other remedies
                      available, a Court may award an employee who is
21                    enforcing his or her rights under this section
                      reasonable attorney’s fees.
22

23         32.    Payne is a citizen of California who lived and worked in California for
24   ADP and was required to execute the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA
25   and 2021 RSA as a condition of his ongoing employment and a non-negotiable
26   prerequisite to receiving certain compensation. Payne was not represented by
27   counsel in connection with the negotiation of the 2014 RSA, 2016 RSA, 2017 RSA,
28   2018 RSA and 2021 RSA.
                                  12
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 1         33.    The 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA
 2   represent a series of nearly identically-worded agreements wherein each subsequent
 3   agreement supplements the preceding agreements between Payne and ADP related
 4   to the same or similar non-compete, non-solicitation, choice of law and choice of
 5   venue provisions. Midwest Motor Supply Co. v. Sup. Ct. (Cal. App. 1st Dist. Oct.
 6   28, 2020), 270 Cal. Rptr. 3d 683, 56 Cal. App. 5th 702, 2020 Cal. App. LEXIS
 7   1014, [holding a forum-selection clause is voidable in agreements entered before
 8   Section 925’s effective date of January 1, 2017 where those agreements are
 9   modified after that effective date].
10         34.    Under California law, the non-compete and non-solicitation provisions
11   within the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA are void
12   and unenforceable. Cal. Bus. & Prof. Code § 16600.
13         35.    The collective aim of the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA
14   and 2021 RSA is to utilize Courts in the State of New Jersey to apply New Jersey
15   law to subject Payne to non-compete and non-solicitation obligations that would
16   otherwise be void and unenforceable under California law. Indeed, ADP’s March
17   7, 2022 letter to Payne makes clear its position that he is subject to these various
18   non-compete     and   non-solicitation   provisions   notwithstanding   California’s
19   prohibition of the same. And, as it has done with other former employees, ADP will
20   use these provisions to haul Payne into Court in New Jersey and ask a New Jersey
21   Court to use New Jersey law to enforce what would otherwise be a void non-compete
22   clause arising out of Payne’s employment in California.
23         36.    ADP cannot effect this scheme in light of Labor Code §925’s
24   prohibition on choice of venue and law clauses and California’s interest in enforcing
25   its public policy against non-competes. Application Group v. Hunger Group (1998)
26   61 Cal.App.4th 881; Davis v. Advanced Care Techs., Inc. (E.D. Cal. Aug. 8, 2007)
27   2007 WL 2288298, at *7; Doe 1 v. AOL LLC, 552 F.3d 1077, 1084 (9th Cir. 2009)].
28         37.    Payne informed ADP of his election to void these terms on March 17,
                                  13
            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1   2022.
 2           38.   Pursuant to California Labor Code §925, this dispute “shall be
 3   adjudicated in California and California law shall govern the dispute.” Cal. Lab.
 4   Code § 925(b).
 5           39.   Unless this Court declares California is the proper forum and
 6   California law governs this dispute, ADP will proceed with steps to further interfere
 7   with Payne’s right to continue with gainful employment with his new employer,
 8   Ceridian, including instituting litigation in New Jersey.
 9           40.   Payne therefore seeks a judicial declaration and judgment as prayed
10   for herein.
11                            SECOND CLAIM FOR RELIEF
12                         VIOLATION OF LABOR CODE §925
13           41.   Payne hereby incorporates by reference and re-alleges each of the
14   foregoing allegations.
15           42.   California Labor Code §925 states:
16                 (a) An employer shall not require an employee who
                       primarily resides and works in California, as a
17                     condition of employment, to agree to a provision that
                       would do either of the following:
18
                       (1) Require the employee to adjudicate outside of
19                         California a claim arising in California.
20                     (2) Deprive the employee of the substantive
                           protection of California law with respect to a
21                         controversy arising in California.
22                 (b) Any provision of a contract that violates subdivision
                       (a) is voidable by the employee, and if a provision is
23                     rendered void at the request of the employee, the
                       matter shall be adjudicated in California, and
24                     California law shall govern the dispute.
25                 (c) In addition to injunctive relief and any other remedies
                       available, a Court may award an employee who is
26                     enforcing his or her rights under this section
                       reasonable attorney’s fees.
27
             43.   Payne is a citizen of California who lived and worked in California for
28
                                   14
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 1   ADP and was required to execute the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA
 2   and 2021 RSA as part of his continuing employment and a prerequisite to receiving
 3   certain compensation. Payne was not represented by counsel in connection with the
 4   negotiation of the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA.
 5           44.   The 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA
 6   represent a series of nearly identically-worded agreements wherein each subsequent
 7   agreement supplements the preceding agreements between Payne and ADP related
 8   to the same or similar non-compete, non-solicitation, choice of law and choice of
 9   venue provisions. Midwest Motor Supply Co. v. Sup. Ct. (Cal. App. 1st Dist. Oct.
10   28, 2020), 270 Cal. Rptr. 3d 683, 56 Cal. App. 5th 702, 2020 Cal. App. LEXIS 1014,
11   [holding a forum-selection clause is voidable in agreements entered before Section
12   925’s effective date of January 1, 2017 where those agreements are modified after
13   that effective date].
14           45.   The collective aim of these agreements is to subject Payne to unlawful
15   non-compete and non-solicitation obligations while simultaneously requiring him to
16   consent to the application of New Jersey law in a Court in the State of New Jersey
17   to resolve any disputes over the same. As it has done with other former employees,
18   ADP will use these provisions to haul Payne into Court in New Jersey and ask a New
19   Jersey Court to use New Jersey law to enforce what would otherwise be a void non-
20   compete clause arising out of Payne’s employment in California.
21           46.   Payne informed ADP of his election to void these terms on March 17,
22   2022.
23           47.   Pursuant to California Labor Code §925, this “matter shall be
24   adjudicated in California and California law shall govern the dispute.” Cal. Lab.
25   Code § 925(b).
26           48.   Payne seeks injunctive relief to enjoin ADP from enforcing the void
27   choice of law and jurisdiction provisions of the 2014 RSA, 2016 RSA, 2017 RSA,
28   2018 RSA and 2021 RSA, as well as his reasonable attorney’s fees as authorized by
                                   15
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1   statute.
 2                             THIRD CLAIM FOR RELIEF
 3              VIOLATION OF BUSINESS & PROFESSIONS CODE §17200
 4          49.    Payne hereby incorporates by reference and re-alleges each of the
 5   foregoing allegations.
 6          50.    California Business and Professions Code §17200 prohibits unfair
 7   business practices by employers, including but not limited to, employment contracts
 8   that violate Business and Professions Code §16600 and California Labor Code §925.
 9          51.    California Business and Professions Code § 16600 states: “Except as
10   provided in this chapter, every contract by which anyone is restrained from engaging
11   in a lawful profession, trade, or business of any kind is to that extent void.”
12   Employee non-competition and non-solicitation agreements have consistently been
13   invalidated under Section 16600 as unreasonable restraints on trade and against
14   public policy.
15          52.    California Labor Code §925 prohibits employers from requiring
16   employees who primarily reside and work in the State of California to agree, as a
17   condition of employment, to provisions that would require employees to adjudicate
18   claims arising in California outside of California or depriving employees of the
19   substantive protection of California law with respect to a controversy arising in
20   California.
21          53.    The 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA seek
22   to impose non-competition and non-solicitation obligations on Payne which would
23   restrain his ability to engage in a lawful profession, trade or business.
24          54.    The 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA seek
25   to impose choice of venue and choice of law provisions on Payne which would
26   require him to adjudicate disputes over the non-compete and non-solicitation
27   provisions of said agreements in New Jersey and would deprive Payne of the
28   substantive protections of California law prohibiting such provisions by applying
                                  16
            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1   New Jersey law.
 2         55.    Payne has suffered an injury in fact as a result of ADP’s unfair and
 3   unlawful conduct in requiring him to sign these agreements as a condition of
 4   employment and prerequisite to receiving compensation and subsequently asserting
 5   the provisions of said agreements to interfere with Payne’s current employment with
 6   Ceridian.
 7         56.    ADP’s conduct towards Payne, which has been taken towards other
 8   ADP employees in California, constitutes an unfair and unlawful business practice
 9   in violation of Business and Professions Code § 17200 and must be restrained.
10         57.    Payne seeks a determination that the non-compete and non-solicitation
11   provisions the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA are void
12   and unenforceable under California Business and Professions Code §16600 and the
13   choice of venue and law provisions of the 2014 RSA, 2016 RSA, 2017 RSA, 2018
14   RSA and 2021 RSA are void and unenforceable under California Labor Code §925.
15   Payne also seeks preliminary and permanent injunctive relief prohibiting ADP from
16   any further attempts to enforce these provisions, as well as reasonable attorney’s fees
17   as authorized by statute.
18                                PRAYER FOR RELIEF
19         WHEREFORE Plaintiff Robert Payne prays for judgment against Defendant
20   ADP, Inc. as follows:
21         1.     For a judicial declaration that the choice of law and jurisdiction
22   provisions in the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA are
23   void under California Labor Code §925, and that any claim arising out of the
24   provisions of the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA shall
25   be adjudicated in California and California law shall govern the dispute;
26         2.     For a judicial declaration that the non-compete and non-solicitation
27   provisions in the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA are
28   void and unenforceable under California Business and Professions Code §16600;
                                  17
            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1         3.    For a judicial declaration that the non-compete, non-solicitation and
 2   choice of venue and law provisions in the 2014 RSA, 2016 RSA, 2017 RSA, 2018
 3   RSA and 2021 RSA constitute an unlawful and unfair business practice in violation
 4   of California Business & Professions Code §17200;
 5         4.    For a judicial declaration that Defendant ADP, Inc, is prohibited from
 6   attempting to enforce the non-compete, non-solicitation and choice of venue and law
 7   provisions in the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA.
 8         5.    For a judicial declaration that Defendant ADP, Inc is prohibited from
 9   engaging in any conduct which attempts to restrict Plaintiff Robert Payne’s work,
10   business or right to earn a living including, without limitation, threatening or
11   instituting legal action pursuant to the void and unenforceable non-compete or non-
12   solicitation provisions within the 2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and
13   2021 RSA or stating or implying that Plaintiff Robert Payne is bound by or violated
14   the void and unenforceable non-compete or non-solicitation provisions within the
15   2014 RSA, 2016 RSA, 2017 RSA, 2018 RSA and 2021 RSA.
16         6.    For preliminary and permanent injunctive relief;
17         7.    For restitution in an amount to be proven at trial;
18         8.    For costs of suit incurred herein;
19         9.    For reasonable attorney's fees as authorized by California Labor Code
20   §925; and
21         10.   For such other and further relief as the Court deems just and proper.
22   Dated: March 17, 2022                 WILSON ELSER MOSKOWITZ
23
                                           EDELMAN & DICKER LLP

24
                                           By:    /s/ Dean A. Rocco
25                                                Dean A. Rocco
26
                                                  Attorneys for Plaintiff
27                                                Robert Payne
28
                                 18
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                           EXHIBIT A
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                                            SALES REPRESENTATIVE'S AGREEMENT


        AGREEMENT between Automatic Data Processing, Inc., a Delaware corporation, or one of its divisions, subsidiaries or

affiliates (collectively, the "Company") with offices at One ADP Boulevard, Roseland, New Jersey 07068, and the employee agreeing to

the terms hereof ("Employee").


        In consideration of the covenants and agreements contained herein, the Company and Employee agree as follows:

1.      NATURE OF SERVICES. The Company hereby employs Employee, and Employee accepts employment with the Company, as a
Sales Representative. Employee shall devote Employee's best efforts and entire business time to the performance of Employee's duties
and responsibilities hereunder. Employee agrees that Employee has read or will immediately read the Company's Code of Business
Conduct and Ethics and the Employee will conduct himself or herself :in accordance with that and all other Company policies throughout
Employee's employment with the Company. Employee understands that the Company is committed to ethical behavior in business and
Employee agrees that Employee will strictly adhere to the highest standards of ethics at all times when representing the Company.

2.    COMPENSATION. Employee's compensation as a Sales Representative of the Company is as set forth in the Sales
Compensation Plan which may be amended at any time at ADP's discretion.

3.      OTHER EMPLOYEE BENEFITS. Employee shall be eligible to participate in any group health benefits, life insurance, stock
purchase, vacation and other employee benefit plans in accordance with the terms and conditions of those plans.

4.      NON-SOLICITATION, NON-DISCLOSURE, NON-USE AND NON-HIRE.

        (a) Employee agrees that during the period commencing the date Employee becomes an employee of the Company and ending
        one year after the date Employee ceases to be an employee of the Company for any reason whatsoever (the "Non-Solicitation
        Period"), Employee shall not, on Employee's behalf or on behalf of any other person, corporation, partnership or other entity
        whatsoever (a "Person"), directly or indirectly, solicit, contact, call upon, communicate with or attempt to communicate with any
        Person which was a client, bona fide prospective client or marketing partner of the Company before the date Employee ceases to
        be an Employee of the Company (the "Termination Date") that (i) was located in any territory Employee managed or to which
        Employee was assigned or covered during the two-year period prior to the Termination Date and/or (ii) Employee was assigned,
        managed and/or had knowledge of, contact or involvement with during the two-year period prior to the Termination Date, to sell,
        license or lease any software, product or service competitive or potentially competitive with any software, product or service sold,
        licensed, leased, provided or under development by the Company during the two-year period prior to the Termination Date,
        provided that the restrictions set forth in this paragraph shall only apply to clients, bona fide prospective clients or marketing
        partners of businesses of the Company with which the Employee was involved or exposed.

        (b) During and after Employee's employment with the Company, Employee will not disclose to any Person any business
        methods, procedures, pricing and marketing structure and strategy, programs, forms, confidential information, trade secrets, the
        names and addresses of current clients, former clients and prospective clients of the Company, or other data and information
        relating to the Company, its vendors, licensors, marketing partners or clients, learned by Employee at any time during Employee's
        employment with the Company (the "Information"). Upon termination of Employee's employment with the Company, Employee
        will return all copies of all materials which belong to the Company (whether or not such materials were prepared by the Company)
        and which are in Employee's possession or over which Employee exercises any control.

        (c) Employee will not, during the Non-Solicitation Period, except in the course of fulfillment of Employee's duties as an employee
        of the Company, use or act upon in any way, directly or indirectly, any information which became known to Employee during the
        course of Employee's employment with the Company concerning the identity or business activity of any current clients, former
        clients, prospective clients and/or marketing partners of the Company.

        (d) During the Non-Solicitation Period, Employee will not, directly or indirectly, hire, solicit, or encourage to leave the Company's
        employ any employee of the Company, or solicit, hire or contract with any former employee of the Company within one year after
        the date such person ceases to be an employee of the Company.

        (e) Employee agrees that a violation of the foregoing covenants not to solicit, not to disclose, not to use and not to hire or any
        provisions thereof will cause irreparable injury to the Company. Accordingly, the Company shall be entitled, in addition to any
        other rights and remedies it may have at law or in equity, to an injunction enjoining and restraining Employee from doing or
        continuing to do any such act.

        (f) For the purposes of this Agreement, the term "client" and "prospective client" shall include without limitation any entity to or for
        whom the Company provides or proposes to provide, as applicable, products or services either directly or indirectly, whether as a
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vendor, subcontractor to another vendor or otherwise, whether or not privity of contract exists between the Company and such
entity.




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5.        PATENTS AND OTHER DEVELOPMENTS. Employee understands and acknowledges that the Company shall have exclusive
rights to anything relating to its actual or prospective business which Employee conceives or works on while employed by the Company.
Accordingly, Employee:

         (a) will promptly and fully disclose all such items to the Company and will not disclose such items to any other person or entity
         (other than employees of the Company authorized to review such information) without the Company's prior consent;

         (b) will maintain on the Company's behalf and surrender to the Company upon termination of the Employee's employment with
         the Company appropriate written records regarding all such items;

         (c) will, but without personal expense, fully cooperate with the Company, execute all papers and perform all acts requested by
         the Company to establish, confirm or protect its exclusive rights in such items or to enable it to transfer title to such items, together
         with any patents, copyrights, trademarks, service marks and/or trade names that may be applied for and/or issued;

        (d) will, but without personal expense, provide such information and true testimony as the Company may request regarding such
        items, including, without limitation, items which Employee neither conceived not worked on but regarding which employee has
        knowledge because of Employee's employment by the Company;

        (e) hereby assigns to the Company, its successors and assigns, exclusive right, title and interest in and to all such items
        including, without limitation, any patents, copyrights, trademarks, service marks and/or trade names which have been, or may be,
        issued; and

        (f) states that the only such items in which Employee personally holds or claims an interest, and which are not subject to this
        Agreement, are listed on the Ownership Schedule attached hereto. The absence of such an Ownership Schedule, or the absence
        of any disclosure on such Ownership Schedule, means that no such items exist.

6.      AMENDMENTS: TERMINATION.

        (a) The Company reserves the right to amend or modify this Agreement or the Sales Compensation Plan at any time after the
        date hereof.

        (b) Notwithstanding the foregoing, Employee understands and agrees that Employee is employed by the Company on an at-will
        basis. As an at-will employee, Employee understands that either the Company or Employee can terminate the employment
        relationship at any time for any reason, with or without advance notice and with or without cause. Employee further understands
        that, although over the course of Employee's employment, other terms and conditions of Employee's employment may change,
        the at-will term of Employee's employment will not change. Employee understands that no one other than the Chief Executive
        Officer of the Company may enter into any agreement with Employee contrary to the foregoing and that any such contrary
        agreement must be in writing and signed by the Chief Executive Officer.

7.       GOVERNING LAW. This Agreement shall be construed and interpreted in accordance with the laws of the State of New Jersey
(where the Company's principal executive offices are located) applicable to contracts made and to be performed entirely within such State.
The courts of New Jersey and the United States District Court for New Jersey shall have jurisdiction over the parties with respect to any
dispute or controversy between them arising under or in connection with this Agreement. A summons or complaint in any such action or
proceeding may be served by mail in accordance with Paragraph 8 below.

8.      NOTICES. All notices shall be sent to the parties by certified or registered mail at the addresses set forth above or to any
changed address which may be given in writing hereafter. All notices to the Company shall include a copy to the Company at One ADP
Boulevard, Roseland, New Jersey 07068, Attention: General Counsel.

9.       SEPARABILITY. If any provision of this Agreement (including, but not limited to, any provision set forth in Paragraphs 4 and 5
above), or any portion thereof, is held to be invalid or unenforceable, the balance of the Agreement shall remain in effect, and if any
provision is inapplicable to any person or circumstance it shall nevertheless remain applicable to all other persons and circumstances.

10.      TRANSFER OF EMPLOYMENT. The parties recognize that Employee may be employed in offices of the Company other than
the one in which Employee is currently employed hereunder. Accordingly, the parties agree that whenever any event occurs affecting their
respective rights, duties, or obligations hereunder, the member of the Company by which Employee is employed at the time such event
occurs shall be deemed to be the "Company" for all purposes of this Agreement.

11.       HEADINGS. The headings in this Agreement are solely for convenience of reference and shall not affect this Agreement's
interpretation.

12.      ACKNOWLEDGMENTS. Employee acknowledges that the Information is confidential and proprietary information belonging to
the Company and that the use or disclosure of the Information except in connection with the Employee's employment with the Company
could reduce that the Company's competitive advantage or otherwise commercially damage the Company. Employee further
acknowledges that the terms of this Agreement are reasonable and that Employee has had a reasonable opportunity to consult with an
attorney before signing this Agreement.
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        IN WITNESS WHEREOF, the parties hereto have entered into this Agreement as of the date agreed to (whether electronically or
otherwise) by Employee.



                                                                              AUTOMA C D                OCESSING, INC.



                                                                              Michael A.
                                                                              Vice President, General Counsel and Secretary




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                                                          Ownership Schedule


If you have items which you believe are not subject to the non-disclosure agreement between you and Automatic Data Processing, Inc.,
please complete the following, which shall constitute the "Ownership Schedule" contemplated by Section 2(f) the non-disclosure
agreement.

Instructions:

          1)       Electronically acknowledge this agreement.
          2)       Print out the agreement and this Ownership Schedule
          3)       List the items which you believe are not subject to this agreement below
          4)       During your first day of employment, fax Items 1 and 2 to:
                             ADP HR and Payroll Resource Center
                             973-422-4325

          Name:

          ADP Associate ID*:

          Date:

          *You will receive instructions on your first day as to how to retrieve your associate ID.

Item 1)

Item 2)

Item 3)




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Task Description:                                             Requisition:                     New Hire:
9400 - Sales Rep Agreement                                    41147                            Payne,Rob




Sales Representative Agreement

Please click hem to review the ADP Sales Representative Agreement. Please agree and acknowledge below. This must be
completed prior to your actual start with ADP.


I acknowledge and agree to the terms of the Sales Representative Agreement. :
Yes




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                           EXHIBIT B
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Automatic Data Processing, Inc.
One ADP Boulevard
Roseland, New Jersey 07068
           For good and valuable consideration, the sufficiency and receipt of which is hereby acknowledged, I agree with you that:

1.   (a) During and at any time after my employment with Automatic Data Processing, Inc. and/or any of its divisions, subsidiaries
         and affiliates (collectively "ADP"), I shall not, except in connection with my duties as an ADP employee, on my behalf or on
            behalf of any other person, corporation, partnership or other entity whatsoever (each, a "Person"), access, use, or disclose to
            any Person any confidential information, trade secrets, or other proprietary information of ADP, its vendors, licensors,
            marketing partners, business partners, or clients (including, but not limited to, (i) ADP's business methods, procedures,
            pricing and marketing structure and strategy which are not publicly available and which I did not learn from a public source,
            (ii) ADP's source and object codes, computer screens, programs and forms, experimental or research work, methods,
            processes, formulas, or drawings, (iii) the names, addresses and business activities of ADP's current, former and prospective
            clients, and (iv) the names, addresses, and personal information of ADP's and ADP's current, former, and prospective
            clients' employees), learned by me at any time during my employment with ADP (collectively, the "ADP Information").

     (b) Upon ceasing to be an ADP employee, I shall immediately return all documents and electronically stored information
         containing ADP Information (including all copies thereof), whether or not such materials were prepared by ADP, me or
         another Person, and which are in my possession or over which I exercise any control.

2.    I understand and acknowledge that ADP shall have exclusive rights to anything related to ADP's actual or prospective business
     which I conceive or work on, either in whole or in part, while employed by ADP and that all such work product is hereby assigned
     to ADP and, if copyrightable, shall be property of ADP as "works for hire" under federal copyright law. I further understand and
     acknowledge that such work product may also constitute ADP confidential and proprietary information. Accordingly, I:

     (a) shall promptly and fully disclose all such items to ADP and will not disclose such items to any other person or entity (other
         than employees of ADP authorized to review such information), without ADP's prior consent;
     (b) shall maintain on ADP's behalf and surrender to ADP upon ceasing to be an ADP employee all written records regarding all
         such items;
     (c)    shall, but without personal expense, fully cooperate with ADP and execute all papers and perform all acts requested by ADP
            to establish, confirm or protect its exclusive rights in such items or to enable it to transfer legal title to such items, together
            with any patents, copyrights, trademarks, service marks and/or trade names that may be applied for and/or issued;
     (d) shall, but without personal expense, provide such information and true testimony as ADP may request regarding such items
         including, without limitation, items which I neither conceived nor worked on but regarding which I have knowledge because
         of my employment by ADP;
     (e) hereby assign to ADP, its successors and assigns, exclusive right, title and interest in and to all such items including, without
            limitation, any patents, copyrights, trademarks, service marks and/or trade names which have been, or may be, issued; and
     (f) state that only such items in which I personally hold or claim an interest and which are not subject to this Agreement are
         listed on the Ownership Schedule attached hereto. The absence of an Ownership Schedule, or the absence of any disclosure
         on such Ownership Schedule, means that no such items exist

3.   (a) During the period that I am an ADP employee, I shall not (except in connection with my duties as an ADP employee), on my
         behalf or on behalf of any other Person, directly or indirectly, solicit, contact, call upon, communicate with or attempt to
         communicate with any Person that is a client, bona fide prospective client, marketing partner or business partner of ADP to
         sell, market, license, lease or provide any software, product or service competitive or potentially competitive with any
         software, product or service sold, marketed, licensed, leased, provided or under development by ADP at any time during my
         employment.

     (b) During the period commencing on the date I cease to be an ADP employee for any reason whatsoever (such date, being the
         "Termination Date") and ending on the date that is twelve months thereafter, I shall not, on my behalf or on behalf of any
         other Person, directly or indirectly, solicit, contact, call upon, communicate with or attempt to communicate with any Person
         that was a client, bona fide prospective client, marketing partner or business partner of ADP before the Termination Date to
         sell, market, license, lease or provide any software, product or service competitive or potentially competitive with any
         software, product or service sold, marketed, licensed, leased, provided or under development by ADP during the two-year
         period prior to my Termination Date, provided that the restrictions set forth in this paragraph 3(b) shall only apply to clients,
         bona fide prospective clients, marketing partners or business partners of businesses of ADP with which I was involved.

     (c) For purposes of this agreement, the term "client" and "prospective client" shall include, without limitation, any Person to or
         for whom ADP provides or proposes to provide, as applicable, products or services, either directly or indirectly, whether as a
         vendor, subcontractor to another vendor or otherwise, and whether or not privity of contract exists between ADP and such
         Person_


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4.   During the period commencing on the date I become an ADP employee and ending on the date that is twelve months following
     my Termination Date, I will not, directly or indirectly, hire, contract with, solicit, or encourage to leave ADP's employ any ADP
     employee, or hire or contract with any former ADP employee within one year after the date such person ceases to be an ADP
     employee.

5.   During my employment by ADP, I shall not accept any position (unless such position is to commence after my employment by
     ADP ceases), gratuities, compensation, reimbursement or funds, or their equivalent, from any Person engaged in any business in
     which ADP is engaged.

6.   I acknowledge and agree that a violation of the foregoing covenants not to disclose, not to solicit and not to hire will cause
     irreparable injury to ADP. ADP shall be entitled, in addition to any other rights and remedies it may have at law or in equity, to
     an injunction enjoining and restraining me from performing, and continuing in the performance of, any such violation.

7.   I understand and agree that I am employed on an at-will basis. As an at-will employee, I understand and agree that either ADP or I
     can terminate our employment relationship at any time for any reason, with or without advance notice and with or without cause. I
     understand and agree that, although over the course of my employment, other terms and conditions of my employment may
     change, the at-will term of my employment will not change. I understand that no one other than the Chief Executive Officer of
     ADP may enter into any agreement with me contrary to the foregoing and that any such contrary agreement must be in writing and
     signed by the Chief Executive Officer.

8.   My obligations under this agreement shall be binding upon me regardless of which office(s) of ADP I am employed at or
     position(s) I hold and shall inure to the benefit of any successors or assigns of ADP. This agreement supplements and does not
     supersede any prior agreements(s) on the subject matter addressed herein.

9.    If any provision of this agreement is invalid or unenforceable, the balance of this agreement shall remain in effect, and if any
     provision is inapplicable to any Person or circumstance it shall nevertheless remain applicable to all other Persons and
     circumstances. This agreement shall be governed by, and construed in accordance with, the laws of the State of New Jersey
     applicable to contacts made and to be performed entirely within such State. I acknowledge that the terms of this agreement are
     reasonable and that I have had a reasonable opportunity to consult with an attorney before agreeing to the terms of this agreement

10. All notices shall be sent to the parties by certified or registered mail at the addresses set forth herein, Attention, in the case of
    ADP, Vice President, Human Resources, or to any changed address which may be given in writing hereafter. All notices to ADP
    shall also include a copy to ADP at One ADP Boulevard, Roseland, New Jersey 07068, Attention: General Counsel.



                                                                        AUTOMAt C Db                   OCESSING, INC.



                                                                        Michael A. B
                                                                        Vice President, General Counsel and Secretary




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                                           Ownership Schedule

If you have items which you believe are not subject to the non-disclosure agreement between you and
Automatic Data Processing, Inc., please complete the following, which shall constitute the
"Ownership Schedule" contemplated by Section 2(f) the non-disclosure agreement.

Instructions:

          1)      Electronically acknowledge this agreement.
          2)      Print out the agreement and this Ownership Schedule
          3)      List the items which you believe are not subject to this agreement below
          4)      During your first day of employment, fax Items 1 and 2 to:
                          ADP HR and Payroll Resource Center
                          973-422-4325

          Name:

          ADP Associate ID*:

          Date:

          *You will receive instructions on your first day as to how to retrieve your associate ID.

Item 1)

Item 2)

Item 3)




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 Task Description:                                                Requisition:                   New Hire:
 9200 - Non-Disclosure Agreement                                  41147                          Payne,Rob



Non-Disclosure Agreement

Please click here to review the ADP Non-Disclosure agreement. Please agree and acknowledge below. This must be completed
prior to your actual start with ADP.


I acknowledge and agree to the terms of the Non-Disclosure Agreement. :
Yes




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                           EXHIBIT C
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                                    [Award Acceptance Document 2 of 2]




     ADP
                                                                                                      September 2, 2014


                                         RESTRICTIVE COVENANT

I am currently employed by Automatic Data Processing, Inc., or one of its subsidiaries or affiliated companies
(collectively, "ADP") as a Sales Compensated Associate who enjoys substantial compensation and benefits from
ADP, including participation in its 2008 Omnibus Award Plan, and as an ADP employee, I have had and will have
access to ADP's Confidential Information, proprietary information, and trade secrets about ADP's operations,
systems, techniques, software, and processes, its Clients, Business Partners, Vendors, and other unique trade and
business methods, all of which are valuable assets of ADP that are developed at great effort and expense to ADP. I
also have had or will have significant contact with ADP's current and prospective Clients, Business Partners, and/or
Vendors in order to develop ADP's goodwill and client relations so that I can promote ADP's interests and
objectives, and I understand that ADP has invested and will invest a significant amount of time and financial
resources to develop my skills to assist me in performing my job duties for ADP.

I understand that ADP is a profit-generating business operating in a highly competitive business environment and
that it has a valid interest in protecting its valuable assets, including its Confidential information, proprietary
information and trade secrets, its goodwill and business relationships with its Clients, Vendors, and employees, the
specialized training of its employees, and I recognize that my use of ADP's valuable assets, directly or indirectly,
against or in competition with ADP, during and after my employment, will result in irreparable harm to ADP.
Accordingly, i understand that this Agreement is meant to limit reasonably and fairly my competition during
employment and following the end of my employment, and to define the corresponding obligations between me and
ADP regarding: (I) unfair competition, (2) the solicitation of Clients for or on behalf of ADP's competitors, (3) the
solicitation of ADP's employees, and (4) the treatment of ADP's proprietary information, Confidential Information,
and trade secrets.

NOW, THEREFORE, in consideration of my initial or continuing employment with ADP, ADP's disclosure to me
of its proprietary information, Confidential Information, and trade secrets to allow me to perform my duties for
ADP, my inclusion in ADP's 2008 Omnibus Award Plan, the mutual benefits conferred herein, and for other good
and valuable consideration (the receipt and sufficiency of all of which I hereby acknowledge). I agree as follows:

1.       Definitions.

          a.            "Business of ADP" ADP is a global provider of (i) business outsourcing and human capital
management solutions, including, without limitation, human resource, payroll, time, attendance and labor
management, pre-employment, talent management, compliance and payment solutions, tax and benefits and
retirement administration solutions and employment administration outsourcing solutions, (ii) practice management
and electronic health records software to medical service providers and other third parties, and outsourced medical
billing solutions, and (iii) technology based solutions and other products and services (including, without limitation,
integrated dealer management systems, digital marketing solutions and other business management solutions) to
auto, truck, motorcycle, marine, recreational vehicle, heavy equipment, and other motor vehicle manufacturers,
distributors, and retailers. ADP also provides workers compensation and health insurance in the United States and
Canada through its licensed insurance agencies and consulting services relating to its business outsourcing and
human capital management solutions. ADP also provides data-driven business intelligence on issues in human
capital management, employment, and workforce trends.

          b.            "Business Partners" means any individual, corporation, limited liability company,
partnership, joint venture, association, or other entity, regardless of form, that is or has been in a commercial or
business relationship with ADP (excluding Clients and Vendors), including, without limitation, (i) referral partners,
resellers, brokers, distributors, licensees, franchisees and marketing partners, (ii) implementation, integration and


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development partners, (iii) co-investors and joint venture partners, and (iv) any other individual or entity whose
products or services ADP purchases, acquires or licenses for use with, or redistribution to, a third party (including
Clients).

         c.            "Clients" means any individual, corporation, limited liability company, partnership, joint
venture, association, or other entity, regardless of form, or government entity for whom ADP provided or provides
products or services in connection with the Business of ADP or whom ADP has actively solicited in connection with
the Business of ADP.

          d.            "Competing Business" means any individual (including me), corporation, limited liability
company, partnership, joint venture, association, or other entity, regardless of form, that is engaged in any business
or enterprise that is the same as, or substantially the same as, the Business of ADP for that part of the business in
which I have worked or to which I have been exposed during my employment with ADP (regardless of whether I
worked only for a particular segment of that part of the business in which I worked—for example, business
segments based on the number of employees a Client has or a particular class of business using an ADP product or
service).

          e.             "Confidential Information" means information and the compilation of information known
by me because of my employment at ADP that is created, compiled, or gathered by ADP or its agents and is related
to the Business of ADP, that is valuable to ADP, and which ADP endeavors to protect from disclosure or use by its
competitors and others who could benefit from its use. Assuming the foregoing criteria are met, Confidential
Information includes but is not limited to information about: ADP's operations, products, and services; research and
development of ADP products and services; ADP's intellectual property; Creative Works, including all publications,
products, applications, processes, and software in any stage of development; names and other listings of current or
prospective Clients, Business Partners, and Vendors (including contact information that may be compiled in
computer databases that are not owned or controlled by ADP such as address books, personal digital assistants,
smart phones, and social and business websites); proposals made to current or prospective Clients, Business
Partners, and Vendors or other information contained in offers or proposals to such Clients, Business Partners, and
Vendors; the terms of any arrangements or agreements with Clients, Business Partners, and Vendors, including the
amounts paid for such services or how pricing was developed by ADP, the implementation of Client-specific
projects, the identity of Business Partners and Vendors, and Business Partner and Vendor pricing information, the
composition or description of future services that are or may be provided by ADP; ADP's financial, marketing, and
sales infoimation; and technical expertise and know-how developed by ADP, including the unique manner in which
ADP conducts its business. Confidential Information shall also include any information disclosed to ADP by a third
party (including, without limitation, current or prospective Clients, Business Partners, and Vendors) which I
understand that ADP is reasonably obliged to treat as confidential. This definition of Confidential Information
excludes information that is or becomes known or generally available in the public domain other than through my
act or failure to act. This definition of Confidential Information and the use of the term Confidential Information in
this Agreement are not meant to limit ADP's rights under applicable trade secrets laws, and ADP specifically
reserves all of its rights under all applicable laws concerning trade secrets.

         f.           "Creative Works" means any and all works of authorship including, for example, written
documents, spreadsheets, graphics, designs, trademarks, service marks, algorithms, computer programs or code,
protocols, formulas, mask works, brochures, presentations, photographs, music or compositions, manuals, reports,
and compilations of various elements, whether or not patentable or registrable under copyright, trademark, or similar
domestic and international laws.

         g.            "Material Business Contact" means contact that is intended to establish or strengthen a
business relationship for ADP.

        h.           "Territory" means the geographic area where I worked, represented ADP, or had Material
Business Contact with ADP's Clients in the two (2) year period preceding the termination of my employment with
ADP.




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         1.            "Vendors" means any individual, corporation, limited liability company, partnership, joint
venture, association, or other entity, regardless of form, or government entity that supplies materials or services to
ADP for internal use.

2.       Duties and Best Efforts. I agree to provide to ADP and its Clients services related to the Business of
ADP, as directed by ADP in its sole discretion. During employment, I agree to devote my full time and best efforts
to ADP, not to provide to ADP's Clients or ADP's competitors the same or similar services or products as those
provided to ADP other than on behalf of ADP, and not to engage in any other employment, consultant, or advisory
relationship that is the same as, similar to, or related to my duties with ADP or the Business of ADP or that
otherwise creates a conflict of interest with ADP. I also agree that I am prohibited from accessing any of ADP's
computer systems, servers, drives, or databases for any competitive or conflicting purpose and that any authorization
for such access is revoked and prohibited by ADP once I engage in any competitive or conflicting activities or take
any material steps towards accomplishing any competitive or conflicting activities.

3.       Non-Competition. I agree that during my employment and for a period of twelve (12) months from the
voluntary or involuntary termination of my employment for any reason and with or without cause, I will not, directly
or indirectly, own, manage, operate, join, control, be employed by or with, or participate in any manner with a
Competing Business anywhere in the Territory where doing so will require me to (i) provide the same or
substantially similar services to a Competing Business as those which I provided to ADP while employed, or (ii) use
or disclose ADP's trade secrets. However, after my voluntary or involuntary termination of my employment for any
reason and with or without cause, nothing shall prevent me from owning, as an inactive investor, securities of any
competitor of ADP which is listed on a national securities exchange.

4.       Non-Solicitation of and Non-Interference with Clients, Business Partners, and Vendors.

         a.       Clients: I agree that during my employment and for a period of twelve (12) months following the
voluntary or involuntary termination of my employment for any reason and with or without cause, I will not, either
on my own behalf or for any Competing Business, directly or indirectly, solicit, divert, appropriate, or accept any
business from, or attempt to solicit, divert, appropriate, or accept any business from any Client for the purposes of
providing products or services that are the same as or substantially similar to those provided in the Business of ADP,
for any Client: (i) whom ADP provides products or services in connection with the Business of ADP; (ii) whom
ADP has provided products or services in connection with the Business of ADP and with whom ADP reasonably
expects business within the two (2) year period following my termination of employment from ADP; (iii) whom
ADP has actively solicited in connection with the Business of ADP within the two (2) year period prior to my
termination of employment from ADP; or (iv) about whom I have any trade secret information. I also agree that I
will not wrongfully induce or encourage or attempt to wrongfully induce or encourage any Clients to cease doing
business with ADP or materially alter their business relationship with ADP.

          b.       Business Partners: I agree that during my employment and for a period of twelve (12) months
following the voluntary or involuntary termination of my employment for any reason and with or without cause, I
will not, either on my own behalf or for any Competing Business, directly or indirectly engage, contract with, solicit,
divert, appropriate or accept any business from, or attempt to engage, contract with, solicit, divert, appropriate or
accept any business from any Business Partner to provide to me or any Competing Business any product or service
that is (a) the same as or substantially similar to the product or service provided to ADP and which ADP uses for,
uses for obtaining, or distributes to, its Clients or (b) specialized, customized or designed by the Business Partner for
ADP. This provision applies only to any Business Partner: (i) whom ADP currently has a commercial or business
relationship with ADP in connection with the Business of ADP; (ii) whom ADP has had a commercial or business
relationship in connection with the Business of ADP and with whom ADP reasonably expects business within the
two (2) year period following my termination of employment from ADP; (iii) whom ADP has actively solicited for a
commercial or business relationship in connection with the Business of ADP within the two (2) year period prior to
my termination of employment from ADP; or (iv) about whom I have any trade secret information. I also agree that
I will not wrongfully induce or encourage or attempt to wrongfully induce or encourage any Business Partner to
cease doing business with ADP or materially alter their business relationship with ADP.

        c.       Vendors: I agree that I will not wrongfully induce or encourage or attempt to wrongfully induce
or encourage any Vendor to cease doing business with ADP or materially alter their business relationship with ADP.


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5.       Non-Solicitation of Employees. I agree that during my employment with ADP and for a period of twelve
(12) months following the voluntary or involuntary termination of my employment for any reason and with or
without cause, I will not, directly or indirectly, hire, solicit, recruit, or encourage to leave ADP, any current
employees of ADP or hire, solicit, recruit, or contract with employees who terminate their employment with ADP
within twelve (12) months following my termination date.

6.       Non-Disclosure and Non-Use of Confidential Information and Trade Secrets. During my employment,
except as authorized and required to perform my duties for ADP, and after the voluntary or involuntary termination
of my employment for any reason and with or without cause, I will not disclose, use, reproduce, distribute, or
otherwise disseminate ADP's Confidential Information or trade secrets or take any action causing, or fail to take any
action necessary, in order to prevent any such information to lose its character or cease to qualify as Confidential
Information or a trade secret. I agree to inquire with ADP if I have any questions about whether particular
information is Confidential Information or a trade secret before using or disclosing such information. I also agree to
immediately return to ADP all property belonging to ADP such as keys, credit cards, telephones, tools, equipment,
computers, and electronic storage devices, as well as all originals, copies, or other physical embodiments of ADP's
Confidential Information or trade secrets (regardless of whether it is in paper, electronic, or other form), including
any such information in any programs, business forms, manuals, correspondence, files, databases, or on computer
disks or any other storage medium, whether or not owned or controlled by me or ADP (e.g., social and business
networking websites, web-based email servers, or cloud storage services), immediately upon termination of my
employment or upon any earlier request by ADP, and I agree not to keep or distribute any copies, electronic or
otherwise, of any of the foregoing. I also understand that my obligations under this paragraph, as well as the other
covenants in this Agreement, extend to my activities on the internet, including my use of business oriented social
networking sites such as Linkedln and Facebook.

7.        Prior Agreements and Disclosure of Agreement to Third Parties. I represent that I am not a party to
any agreement with any former employer or any other person or entity containing any non-disclosure, non-compete,
non-solicitation, non-recruitment, intellectual property assignment, or other covenants that will affect my ability to
devote my full time and attention to the Business of ADP that has not already been disclosed to ADP in writing. I
also agree to provide a copy of this Agreement to any subsequent employer, person, or entity to which I intend to
provide services that may conflict with any of my obligations in this Agreement prior to engaging in any such
activities and to provide ADP in writing the name and address of any such employer, person, or entity and a
description of the services I intend to provide prior to engaging in any such activities. I agree that ADP may also
provide a copy of this Agreement or a description of its terms to any Client, subsequent employer, or other third
party at any time as it deems necessary to protect its interests, and I agree to indemnify ADP against any claims and
hold ADP harmless from any losses, costs, fees, expenses, and damages arising out of my failure to comply with this
paragraph.

8.       Severability and Reformation. I agree if any particular paragraph, subparagraph, phrase, word, or other
portion of this Agreement is determined by an appropriate court to be invalid or unenforceable as written, it shall be
modified as necessary to be made valid or enforceable, and such modification shall not affect the remaining
provisions of this Agreement, or if it cannot be modified to be made valid or enforceable, then it shall be severed
from this Agreement, and all remaining terms and provisions shall remain enforceable.

9.       Choice of Law, Venue, and Jurisdiction. The interpretation, validity, and enforcement of this Agreement
will be governed by the laws of the State of New Jersey, without regard to any conflicts of law principles that
require the application of the law of another jurisdiction. I agree that any action by me to challenge the
enforceability of this Agreement must be brought or litigated exclusively in the appropriate state or federal court
located in the State of New Jersey. I also agree that any action by ADP to enforce this Agreement, as well as any
related disputes or litigation related to this Agreement, may, but do not have to, be brought in the appropriate state or
federal court located in the State of New Jersey. I agree and consent to the personal jurisdiction and venue of the
federal or state courts of New Jersey for resolution of any disputes or litigation arising under or in connection with
this Agreement or any challenge to this Agreement and waive any objections or defenses to personal jurisdiction or
venue in any such proceeding before any such court.




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10.      Survival. All non-competition, non-solicitation, non-disclosure and non-use, non-recruiting, intellectual
property, and Agreement disclosure obligations under paragraphs three (3) through seven (7) of this Agreement shall
survive the voluntary or involuntary termination of my employment for any reason and with or without cause, and
no dispute regarding any other provisions of this Agreement or regarding my employment or the termination of my
employment shall prevent the operation and enforcement of these obligations.

11.       Relief, Remedies, and Enforcement. I acknowledge that ADP is engaged in a highly competitive
business, and the covenants and restrictions contained in this Agreement, including the geographic and temporal
restrictions, are reasonably designed to protect ADP's legitimate business interests, including ADP goodwill and
client relations, Confidential Information and trade secrets, and the specialized skills and knowledge gained by me
and ADP's other employees during our employment. I acknowledge and agree that a breach of any provision of this
Agreement by me will cause serious and irreparable damage to ADP that will be difficult to quantify and for which a
remedy at law for monetary damages alone may not be adequate. Accordingly, I agree that if ADP should bring an
action to enforce its rights under this Agreement and ADP establishes that I have breached or threatened to breach
any of my obligations under this Agreement, ADP shall be entitled to injunctive relief. I also agree that nothing in
this Agreement shall be construed to prohibit ADP from pursuing any and all other legal or equitable remedies
available to it for breach of any of the provisions of this Agreement, including the disgorgement of any profits,
commissions, or fees realized by me, any subsequent employers, any business owned or operated by me, or any of
my agents, heirs, or assigns. I agree that if ADP substantially prevails in any litigation arising out of or relating to
this Agreement (including, without limitation, paragraph nine (9) above), ADP shall be entitled to recovery of its
reasonable attorneys' fees and associated costs, in addition to any other relief mentioned above. I also agree that that
the knowledge, skills, and abilities I possess at the time of commencement of my employment are sufficient to
permit me to earn a livelihood satisfactory to me without violating any provision of paragraphs three (3) through
seven (7) above, for example, by using such knowledge, skills, and abilities, or some of them, in the service of
business that is not competitive with ADP.

12.      Tolling. The restricted time periods in paragraphs three (3) through six (6) above shall be tolled during any
time period that I am in violation of such covenants, as determined by a court of competent jurisdiction, so that ADP
may realize the full benefit of its bargain. This tolling shall include any time period during which litigation is
pending, but during which I have continued to violate such protective covenants and a court has declined to enjoin
such conduct or I have failed to comply with any such injunction.

13.       Entire Agreement and Validity of Terms. I agree that I do not rely, and have not relied, upon any
representation or statement not set forth herein by ADP or any of ADP's agents, representatives, or attorneys, and
that this Agreement may be changed only by a subsequent agreement in writing signed by both parties. I understand
that I may have an existing agreement(s) with ADP, through acquisition of a prior employer or otherwise, that may
include the same or similar covenants as those in this Agreement, and acknowledge that this Agreement is meant to
supplement any such agreement(s) such that the covenants in the agreements that provide ADP with the greatest
protection enforceable under applicable law shall control, and that the parties do not intend to create any ambiguity
or conflict through the execution of this Agreement that would release me from the obligations I have assumed
under the protective covenants in any of these agreements.

14.     Electronic Signature. I agree that ADP may enforce this Agreement with a copy for which I have
provided an electronic signature.

15.      Assignment and Successorship. This Agreement and ADP's rights and obligations hereunder may be
assigned by ADP and shall inure to the benefit of and shall be enforceable by any such assignee, as well as any of
ADP's successors in interest. This Agreement and my rights and obligations may not be assigned by me, but are
binding upon my heirs, administrators, executors, and personal representatives.

16.      Waiver. The waiver by ADP of any breach of this Agreement by me shall not be effective unless in
writing signed by the President of ADP, and no such waiver with regards to me or any other person under a similar
agreement shall operate or be construed as a waiver of the same type of breach or any other breach on a subsequent
occasion by me or any other person or entity.




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17.      Legal Counsel. I agree that I have read this Agreement before signing it, understand its terms, and that I
have had the opportunity to have legal counsel review this agreement, prior to signing it, and I acknowledge that I
have not been forced or coerced in any manner to sign this Agreement and do so of my own free will.


            After reviewing this document close this window to continue the grant acceptance process.




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09/01/2016 12:07 pm U.S. Eastern Standard Time
ACCEPTED




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                           EXHIBIT D
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                                      'RESTRICTIVE COVENANT AGREEMENT

I am currently employed by Automatic Data Processing, Inc., or one of its subsidiaries or affiliated companies
(collectively, "ADP") as a Sales Compensated Associate who enjoys substantial compensation and benefits from
ADP, including participation in its 2008 Omnibus Award Plan, and as an ADP employee, I have had and will have
access to ADP's Confidential Information, proprietary information, and trade secrets about ADP's operations,
systems, techniques, software, and processes, its Clients, Business Partners, Vendors, and other unique trade and
business methods, all of which are valuable assets of ADP that are developed at great effort and expense to ADP. I
also have had or will have significant contact with ADP's current and prospective Clients, Business Partners, and/or
Vendors in order to develop ADP's goodwill and client relations so that I can promote ADP's interests and
objectives, and I understand that ADP has invested and will invest a significant amount of time and financial
resources to develop my skills to assist me in performing my job duties for ADP. While these current and
prospective Clients, Business Partners, and/or Vendors may be secured or serviced by ADP associates, including
me, I acknowledge that such individuals or entities remain at all times those of ADP and that the goodwill
engendered by the relationships is intended to inure only to the benefit of ADP; the goodwill is owned by ADP; and
ADP shall be the sole beneficiary of such goodwill during and after the termination of my employment with ADP.

I understand that ADP is a profit-generating business operating in a highly competitive business environment and
that it has a valid interest in protecting its valuable assets, including its Confidential Information, proprietary
information and trade secrets, its goodwill and business relationships with its Clients, Vendors, and employees, the
specialized training of its employees, and I recognize that my use of ADP's valuable assets, directly or indirectly,
against or in competition with ADP, during and after my employment, will result in irreparable harm to ADP.
Accordingly, I understand that this Agreement is meant to limit reasonably and fairly my competition during
employment and following the end of my employment, and to define the corresponding obligations between me and
ADP regarding: (1) unfair competition, (2) the solicitation of Clients for or on behalf of ADP's competitors, (3) the
solicitation of ADP's employees, and (4) the treatment of ADP's proprietary information, Confidential Information,
and trade secrets.

NOW, THEREFORE, in consideration of my initial or continuing employment with ADP, ADP's disclosure to me
of its proprietary information, Confidential Information, and trade secrets to allow me to perform my duties for
ADP, my inclusion in ADP's 2008 Omnibus Award Plan, the mutual benefits conferred herein, and for other good
and valuable consideration (the receipt and sufficiency of all of which I hereby acknowledge), I agree as follows:

1.       Definitions.

          a.     "Business of ADP" ADP is a global provider of (i) business outsourcing and human capital
management solutions, including, without limitation, human resource, payroll, time, attendance and labor
management, pre-employment, talent management, compliance and payment solutions, tax and benefits and
retirement administration solutions and employment administration outsourcing solutions, and (ii) practice
management and electronic health records software to medical service providers and other third parties, and
outsourced medical billing solutions. ADP also provides workers compensation and health insurance in the United
States and Canada through its licensed insurance agencies and consulting services relating to its business
outsourcing and human capital management solutions. ADP also provides data-driven business intelligence on
issues in human capital management, employment, and workforce trends.

          b.      "Business Partners" means any individual, corporation, limited liability company, partnership,
joint venture, association, or other entity, regardless of form, that is or has been in a commercial or business
relationship with ADP (excluding Clients and Vendors), including, without limitation, (i) referral partners, resellers,
brokers, distributors, licensees, franchisees and marketing partners, (ii) implementation, integration and
development partners, (iii) co-investors and joint venture partners, and (iv) any other individual or entity whose
products or services ADP purchases, acquires or licenses for use with, or redistribution to, a third party (including
Clients).

         c.       "Clients" means any individual, corporation, limited liability company, partnership, joint venture,
association, or other entity, regardless of form, or government entity for whom ADP provided or provides products
or services in connection with the Business of ADP or whom ADP has actively solicited in connection with the
Business of ADP.

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          d.       "Competing Business" means any individual (including me), corporation, limited liability
company, partnership, joint venture, association, or other entity, regardless of form, that is engaged in any business
or enterprise that is the same as, or substantially the same as, the Business of ADP for that part of the business in
which I have worked or to which I have been exposed during my employment with ADP (regardless of whether I
worked only for a particular segment of that part of the business in which I worked—for example, business
segments based on the number of employees a Client has or a particular class of business using an ADP product or
service).

          e.        "Confidential Information" means information and the compilation of information known by me
because of my employment at ADP that is created, compiled, received, or gathered by ADP or its agents and is
related to the Business of ADP, that is valuable to ADP, and which ADP endeavors to protect from disclosure or use
by its competitors and others who could benefit from its use, whether in written, tangible, electronic or any other
form or media. Assuming the foregoing criteria are met, Confidential Information includes but is not limited to
information about: ADP's operations, products, business plans, market strategies, and services; research and
development of ADP products and services; ADP's intellectual property and trade secrets, Creative Works,
including all publications, products, applications, processes, and software in any stage of development; names and
other listings of current or prospective Clients, Business Partners, and Vendors (including contact information that
may be compiled in computer databases that are not owned or controlled by ADP such as address books, personal
digital assistants, smart phones, and social and business websites); proposals made to current or prospective Clients,
Business Partners, and Vendors or other information contained in offers or proposals to such Clients, Business
Partners, and Vendors; the terms of any arrangements or agreements with Clients, Business Partners, and Vendors,
including the amounts paid for such services or how pricing was developed by ADP, the implementation of Client-
specific projects, the identity of Business Partners and Vendors, and Business Partner and Vendor pricing
information, the composition or description of future services that are or may be provided by ADP; ADP's fmancial,
marketing, and sales information; technical expertise and know-how developed by ADP, including the unique
manner in which ADP conducts its business; employee lists, employee capabilities, employee compensation,
prospective employee information and employee training information and practices; Personally Identifiable
information; and Protected Health Information.          Confidential Information shall also include any information
disclosed to ADP by a third party (including, without limitation, current or prospective Clients, Business Partners,
and Vendors) which I understand that ADP is reasonably obliged to treat as confidential. This definition of
Confidential Information excludes information that is or becomes known or generally available in the public domain
other than through my act or failure to act. This definition of Confidential Information and the use of the term
Confidential Information in this Agreement are not meant to limit ADP's rights under applicable trade secrets laws,
and ADP specifically reserves all of its rights under all applicable laws concerning trade secrets.

         f.      "Creative Works" means any and all works of authorship including, for example, written
documents, spreadsheets, graphics, designs, trademarks, service marks, algorithms, computer programs or code,
protocols, formulas, mask works, brochures, presentations, photographs, music or compositions, manuals, reports,
and compilations of various elements, whether or not patentable or registrable under copyright, trademark, or similar
domestic and international laws.

         g.       "Material Business Contact" means contact that is intended to establish or strengthen a business
relationship for ADP.

          h.       "Personally Identifiable Information"("PII") is Confidential Information and includes an
individual's first name and last name or first initial and last name in combination with any of the following: an
individual's social security number, tax I.D. number, social insurance number, driver's license number, state issued
identification card number, financial information, healthcare information, or credit or debit card number.

          i.       "Protected Health Information" ("PHI") is Confidential Information and includes information
that is created, received, and/or maintained by the Company related to an individual's health care (or payment
related to health care) that directly or indirectly identifies the individual.

        j.       "Territory" means the geographic area where I worked, represented ADP, or had Material
Business Contact with ADP's Clients in the two (2) year period preceding the termination of my employment with
ADP.




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         k.       "Vendors" means any individual, corporation, limited liability company, partnership, joint
venture, association, or other entity, regardless of form, or government entity that supplies materials or services to
ADP for internal use.

2.       Duties and Best Efforts. I agree to provide to ADP and its Clients services related to the Business of
ADP, as directed by ADP in its sole discretion. During employment, I agree to devote my full time and best efforts
to ADP, not to provide to ADP's Clients or ADP's competitors the same or similar services or products as those
provided to ADP other than on behalf of ADP, and not to engage in any other employment, consultant, or advisory
relationship that is the same as, similar to, or related to my duties with ADP or the Business of ADP or that
otherwise creates a conflict of interest with ADP. I also agree that I am prohibited from accessing any of ADP's
Confidential Information, computer systems, servers, drives, or databases for any competitive or conflicting purpose
and that any authorization for such access is revoked and prohibited by ADP once I engage in any competitive or
conflicting activities or take any material steps towards accomplishing any competitive or conflicting activities.

3.       Non-Competition. I agree that during my employment and for a period of twelve (12) months from the
voluntary or involuntary termination of my employment for any reason and with or without cause, I will not, directly
or indirectly, own, manage, operate, join, control, finance, be employed by or with, or participate in any manner
with a Competing Business anywhere in the Territory where doing so will require me to (i) provide the same or
substantially similar services to a Competing Business as those which I provided to ADP while employed, or (ii) use
or disclose ADP's Confidential Information or trade secrets. However, after my voluntary or involuntary
termination of my employment for any reason and with or without cause, nothing shall prevent me from owning, as
an inactive investor, securities of any competitor of ADP which is listed on a national securities exchange.

4.       Non-Solicitation of and Non-Interference with Clients, Business Partners, and Vendors.

         a.       Clients: I agree that during my employment and for a period of twelve (12) months following the
voluntary or involuntary termination of my employment for any reason and with or without cause, I will not, either
on my own behalf or for any Competing Business, directly or indirectly, solicit, divert, appropriate, or accept any
business from, or attempt to solicit, divert, appropriate, or accept any business from any Client for the purposes of
providing products or services that are the same as or substantially similar to those provided in the Business of ADP,
for any Client: (i) whom ADP provides products or services in connection with the Business of ADP; (ii) whom
ADP has provided products or services in connection with the Business of ADP within the one (1) year period prior
to my voluntary or involuntary termination of employment, for any reason, with or without cause, from ADP; (iii)
whom ADP has provided products or services in connection with the Business of ADP and with whom ADP
reasonably expects business within the two (2) year period following my voluntary or involuntary termination of
employment, for any reason, with or without cause, from ADP; (iv) whom ADP has solicited in connection with the
Business of ADP within the two (2) year period prior to my voluntary or involuntary termination of employment, for
any reason, with or without cause, from ADP; or (v) about whom I have any Confidential Information or trade secret
information. I also agree that I will not wrongfully induce or encourage or attempt to wrongfully induce or
encourage any Clients to cease doing business with ADP or materially alter their business relationship with ADP.

          b.       Business Partners: T agree that during my employment and for a period of twelve (12) months
following the voluntary or involuntary termination of my employment for any reason and with or without cause, I
will not, either on my own behalf or for any Competing Business, directly or indirectly engage, contract with, solicit,
divert, appropriate or accept any business from, or attempt to engage, contract with, solicit, divert, appropriate or
accept any business from any Business Partner to provide to me or any Competing Business any product or service
that is (a) the same as or substantially similar to the product or service provided to ADP and which ADP uses for,
uses for obtaining, or distributes to, its Clients or (b) specialized, customized or designed by the Business Partner for
ADP. This provision applies only to any Business Partner: (i) whom ADP currently has a commercial or business
relationship with ADP in connection with the Business of ADP; (ii) whom ADP has had a commercial or business
relationship in connection with the Business of ADP within the one (1) year period prior to my voluntary or
involuntary termination of employment, for any reason, with or without cause from ADP; (iii) whom ADP has had a
commercial or business relationship in connection with the Business of ADP and with whom ADP reasonably
expects business within the two (2) year period following my voluntary or involuntary termination of employment,
for any reason, with or without cause, from ADP; (iv) whom ADP has actively solicited for a commercial or
business relationship in connection with the Business of ADP within the two (2) year period prior to my voluntary or
involuntary termination of employment, for any reason, with or without cause, from ADP; or (v) about whom I have
any Confidential Information or trade secret information.            I also agree that I will not wrongfully induce or



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encourage or attempt to wrongfully induce or encourage any Business Partner to cease doing business with ADP or
materially alter their business relationship with ADP.

        c.       Vendors: I agree that I will not induce or encourage or attempt to induce or encourage any
Vendor to cease doing business with ADP or materially alter their business relationship with ADP.

5.       Non-Solicitation of Employees. I agree that during my employment with ADP and for a period of twelve
(12) months following the voluntary or involuntary termination of my employment for any reason and with or
without cause, I will not, directly or indirectly, hire, solicit, recruit, or encourage to leave ADP, any current
employees of ADP or hire, solicit, recruit, or contract with employees who terminate their employment with ADP
within twelve (12) months following my termination date.

6.       Non-Disclosure and Non-Use of Confidential Information and Trade Secrets. During my employment,
except as authorized and required to perform my duties for ADP, and after the voluntary or involuntary termination
of my employment for any reason and with or without cause, I will not access, disclose, use, reproduce, distribute, or
otherwise disseminate ADP's Confidential Information or trade secrets or take any action causing, or fail to take any
action necessary, in order to prevent any such information to lose its character or cease to qualify as Confidential
Information or a trade secret. I agree to inquire with ADP if I have any questions about whether I am authorized or
required to access, disclose, use, reproduce, distribute, or otherwise disseminate ADP's Confidential Information or
whether particular information is Confidential Information or a trade secret before accessing, using or disclosing
such information. I understand, however, that nothing in this Restrictive Covenant Agreement prohibits me from
reporting possible violations of federal law or regulation to any governmental agency or entity or from
communicating with any such agency or entity regarding the same. I also agree to immediately return to ADP all
property and information belonging to ADP such as keys, credit cards, telephones, tools, equipment, computers,
passwords, access codes, pin numbers, and electronic storage devices, as well as all originals, copies, or other
physical embodiments of ADP's Confidential Information or trade secrets (regardless of whether it is in paper,
electronic, or other form), including any such information in any programs, business forms, manuals,
correspondence, files, databases, or on computer disks or any other storage medium, including but not limited to
cloud storage, whether or not owned or controlled by me or ADP (e.g., social and business networking websites,
web-based email servers, Notability, or cloud storage services), immediately upon termination of my employment or
upon any earlier request by ADP, and I agree not to keep or distribute any copies, electronic or otherwise, of any of
the foregoing. I also understand that my obligations under this paragraph, as well as the other covenants in this
Agreement, extend to my activities on the internet, including my use of business oriented social networking sites
such as LinkedIn and Facebook. This shall include deleting any business related connections or contacts, including
all ADP employees, representatives and agents, as well as all contacts at ADP Clients and Business Partners, that I
inputted in or with whom I connected on any business oriented social networking sites, my Linkedln account, any
cloud storage, any electronic device, or any cell phones while employed at ADP.

7.        Prior Agreements and Disclosure of Agreement to Third Parties. I represent that I am not a party to
any agreement with any former employer or any other person or entity containing any non-disclosure, non-compete,
non-solicitation, non-recruitment, intellectual property assignment, or other covenants that will affect my ability to
devote my full time and attention to the Business of ADP that has not already been disclosed to ADP in writing. I
also agree to provide a copy of this Agreement to any subsequent employer, person, or entity to which I intend to
provide services that may conflict with any of my obligations in this Agreement prior to engaging in any such
activities and to provide ADP in writing the name and address of any such employer, person, or entity and a
description of the services I intend to provide prior to engaging in any such activities. I agree that ADP may also
provide a copy of this Agreement or a description of its terms to any Client, subsequent employer, or other third
party at any time as it deems necessary to protect its interests, and I agree to indemnify ADP against any claims and
hold ADP harmless from any losses, costs, attorneys' fees, expenses, and damages arising out of my failure to
comply with this paragraph or ADP's providing a copy of this Agreement or a description of its terms to any Client,
subsequent employer, or other third•party.

8.       Severability and Reformation. I agree if any particular paragraph, subparagraph, phrase, word, or other
portion of this Agreement is determined by an appropriate court to be invalid or unenforceable as written, it shall be
modified as necessary to be made valid or enforceable, and such modification shall not affect the remaining
provisions of this Agreement, or if it cannot be modified to be made valid or enforceable, then it shall be severed
from this Agreement, and all remaining terms and provisions shall remain enforceable.




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9.        Choice of Law, Venue, and Jurisdiction. The interpretation, validity, and enforcement of this Agreement
will be governed by the laws of the State of New Jersey, without regard to any conflicts of law principles that
require the application of the law of another jurisdiction. I agree that any action by me to challenge the
enforceability of this Agreement must be brought or litigated exclusively in the appropriate state or federal court
located in the State of New Jersey. I also agree that any action by ADP to enforce this Agreement, as well as any
related disputes or litigation related to this Agreement, may, but do not have to, be brought in the appropriate state or
federal court located in the State of New Jersey. I agree and consent to the personal jurisdiction and venue of the
federal or state courts of New Jersey for resolution of any disputes or litigation arising under or in connection with
this Agreement or any challenge to this Agreement and waive any objections or defenses to personal jurisdiction or
venue in any such proceeding before any such court.

10.       Survival. I acknowledge that my employment relationship with ADP is "terminable at will" by either party
and that the Company or I can terminate the relationship with or without cause and without following any specific
procedures. Nothing contained in this Agreement is intended to or shall be relied upon to alter the "terminable at
will" relationship between the parties. However, all non-competition, non-solicitation, non-disclosure and non-use,
non-recruiting, intellectual property, and Agreement disclosure obligations under paragraphs three (3) through seven
(7) of this Agreement shall survive the voluntary or involuntary termination of my employment for any reason and
with or without cause, and no dispute regarding any other provisions of this Agreement or regarding my
employment or the termination of my employment shall prevent the operation and enforcement of these obligations.

11.       Relief, Remedies, and Enforcement. I acknowledge that ADP is engaged in a highly competitive
business, and the covenants and restrictions contained in this Agreement, including the geographic and temporal
restrictions, are reasonably designed to protect ADP's legitimate business interests, including ADP goodwill and
client relations, Confidential Information and trade secrets, and the specialized skills and knowledge gained by me
and ADP's other employees during our employment. I acknowledge and agree that a breach of any provision of this
Agreement by me will cause serious and irreparable damage to ADP that will be difficult to quantify and for which a
remedy at law for monetary damages alone may not be adequate. Accordingly, I agree that if ADP should bring an
action to enforce its rights under this Agreement and ADP establishes that I have breached or threatened to breach
any of my obligations under this Agreement, ADP shall be entitled, in addition to all remedies otherwise available in
law or in equity, to a temporary restraining order, a preliminary injunction, and a permanent injunction enjoining
such breach or threatened breach in any court of competent jurisdiction without the necessity of posting a surety
bond, as well as an equitable accounting of all profits or benefits arising out of any violation of this Agreement. I
also agree that nothing in this Agreement shall be construed to prohibit ADP from pursuing any and all other legal
or equitable remedies available to it for breach of any of the provisions of this Agreement, including the
disgorgement of any profits, bonuses, commissions, or fees realized by me, any subsequent employers, any business
owned or operated by me, or any of my agents, heirs, or assigns. I agree that if ADP substantially prevails in any
litigation arising out of or relating to this Agreement ADP shall be entitled to recovery of its reasonable attorneys'
fees and associated costs, in addition to any other relief mentioned above. I also agree that that the knowledge, skills,
and abilities I possess at the time of commencement of my employment are sufficient to permit me to earn a
livelihood satisfactory to me without violating any provision of paragraphs three (3) through seven (7) above, for
example, by using such knowledge, skills, and abilities, or some of them, in the service of business that is not
competitive with ADP.

12.      Tolling. The restricted time periods in paragraphs three (3) through six (6) above shall be tolled during any
time period that I am in violation of such covenants, as determined by a court of competent jurisdiction, so that ADP
may realize the full benefit of its bargain. This tolling shall include any time period during which litigation is
pending, but during which I have continued to violate such protective covenants and a court has declined to enjoin
such conduct or I have failed to comply with any such injunction.

13.       Entire Agreement and Validity of Terms. I agree that I do not rely, and have not relied, upon any
representation or statement not set forth herein by ADP or any of ADP's agents, representatives, or attorneys, and
that this Agreement may be changed only by a subsequent agreement in writing signed by both parties. I understand
that I may have an existing agreement(s) with ADP, through acquisition of a prior employer or otherwise, that may
include the same or similar covenants as those in this Agreement, and acknowledge that this Agreement is meant to
supplement any such agreement(s) such that the covenants in the agreements that provide ADP with the greatest
protection enforceable under applicable law shall control, and that the parties do not intend to create any ambiguity
or conflict through the execution of this Agreement that would release me from the obligations I have assumed
under the protective covenants in any of these agreements.


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14.     Electronic Signature. I agree that ADP may enforce this Agreement with a copy for which I have
provided an electronic signature.

15.      Assignment and Successorship. This Agreement and ADP's rights and obligations hereunder may be
assigned by ADP and shall inure to the benefit of and shall be enforceable by any such assignee, as well as any of
ADP's successors in interest. This Agreement and my rights and obligations may not be assigned by me, but are
binding upon my heirs, administrators, executors, and personal representatives.

16.     Waiver. ADP's waiver of a breach of any provision of this Agreement in any particular instance shall not
be deemed to be a waiver of any other breach in any other instance and/or of ADP's other rights at law, in equity, or
under this Agreement. ADP's failure to take action against any other employee for similar breaches shall not
operate as a wavier by ADP of a breach as to me. Any waiver by ADP of any breach of this Agreement by me shall
not be effective unless in writing signed by the President of ADP, and no such waiver with regards to me or any
other person under a similar agreement shall operate or be construed as a waiver of the same type of breach or any
other breach on a subsequent occasion by me or any other person or entity.

17.      Jury Trial Waiver. I agree that, to the fullest extent permitted by law, each party waives any right to trial
by jury with respect to any proceeding arising out of or relating to this Agreement.

18.     Opportunity to Review. I agree that I have read this Agreement before signing it, understand its terms,
and that I have had the opportunity to have legal counsel review this agreement, prior to signing it, and I
acknowledge that I have not been forced or coerced in any manner to sign this Agreement and do so of my own free
will.


             After reviewing this document close this window to continue the grant acceptance process.




GP176IKF

09/01/2016 12:06 pm U.S. Eastern Standard Time

ACCEPTED




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                           EXHIBIT E
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                                   [Award Acceptance Document 2 of 2]



        JD 2

                                                                                              09/01/2017


                            RESTRICTIVE COVENANT AGREEMENT

            I am currently employed by Automatic Data Processing, Inc., or one of its subsidiaries or affiliated
  companies (collectively, "ADP") as a Sales Compensated Associate who enjoys substantial compensation and
  benefits from ADP, including participation in its 2008 Omnibus Award Plan, and as an ADP employee, I have
  had and will have access to Confidential Information, proprietary information, and trade secrets about the
  Business of ADP, ADP's operations, systems, techniques, software, and processes, its Clients, Business
  Partners, Vendors, and other unique trade and business methods, all of which are valuable assets of ADP that
  are developed at great effort and expense to ADP. I also have had or will have significant contact with ADP's
  current and prospective Clients, Business Partners, and/or Vendors in order to develop ADP's goodwill and
  client relations so that I can promote ADP's interests and objectives, and I understand that ADP has invested
  and will invest a significant amount of time and financial resources to develop my skills to assist me in
  performing my job duties for ADP. While these current and prospective Clients, Business Partners, and/or
  Vendors may be secured or serviced by ADP associates, including me, I acknowledge that such individuals or
  entities remain at all times those of ADP and that the goodwill engendered by the relationships is intended to
  inure only to the benefit of ADP; the goodwill is owned by ADP; and ADP shall be the sole beneficiary of such
  goodwill during and after the termination of my employment with ADP.

          i understand that ADP is a profit-generating business operating in a highly competitive business
 environment and that it has a valid interest in protecting its valuable assets, including its Confidential
 information, proprietary information and trade secrets, its goodwill and business relationships with its Clients,
 Business Partners, Vendors, and employees, and the specialized training of its employees, and l recognize that
 my use of ADP's valuable assets, directly or indirectly, against or in competition with ADP, during and after
 my employment, will result in irreparable harm to ADP. Accordingly, I understand that this Agreement is
 meant to limit reasonably and fairly my competition during my employment and following the end of my
 employment, and to define the corresponding obligations between me and ADP regarding: (1) unfair
 competition, (2) the solicitation of Clients, Business Partners or Vendors for or on behalf of ADP's
 competitors, (3) the solicitation of ADP's employees, and (4) the treatment of proprietary information,
 Confidential Information, and trade secrets.

           NOW, THEREFORE, in consideration of my initial or continuing employment with ADP, ADP's
  disclosure to me of proprietary information, Confidential Information, and trade secrets to allow me to perform
  my duties for ADP, my participation in ADP's 2008 Omnibus Award Plan, the mutual benefits conferred
  herein, and for other good and valuable consideration (the receipt and sufficiency of all of which I hereby
  acknowledge), I agree as follows:

  1.       Definitions.

            a.          "Business of ADP" means the following businesses or services: (i) business
  outsourcing and human capital management solutions, including, without limitation, human resource, payroll.
  time, attendance and labor management, pre-employment, talent management, compliance and payment
  solutions, tax and benefits and retirement administration solutions and employment administration outsourcing
  solutions, which ADP provides globally; (ii) workers compensation and health insurance, which ADP provides
  in the United States and Canada through its licensed insurance agencies and consulting services relating to its
  business outsourcing and human capital management solutions; and (iii) data-driven business intelligence on
  issues in human capital management, employment, and workforce trends.

            b.           "Business Partners" means any individual, corporation, limited liability company,
  partnership, joint venture, association, or other entity, regardless of form, and their employees and agents, that
  is or has been in a commercial or business relationship with ADP (excluding Clients and Vendors), including,
  without limitation, (i) referral partners, resellers, brokers, distributors, licensees, franchisees and marketing
  partners, (ii) implementation, integration and development partners, (iii) co-investors and joint venture
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  partners, and (iv) any other individual or entity whose products or services ADP purchases, acquires or licenses
  for use with, or redistribution to, a third party (including Clients).

           c.            "Clients" means any individual, corporation, limited liability company, partnership,
  joint venture, association, or other entity, regardless of form, and their employees or agents, or government or
  quasi-government entity, and their employees or agents, for: (i) whom ADP provides products or services in
  connection with the Business of ADP; (ii) whom ADP has provided products or services in connection with the
  Business of ADP within the one (1) year period prior to my voluntary or involuntary termination of
  employment, for any reason, with or without cause, from ADP; (iii) whom I have solicited, contacted, called
  upon, communicated with, or attempted to communicate with on behalf of ADP in connection with the
  Business of ADP within the two (2) year period prior to my voluntary or involuntary termination of
  employment, for any reason, with or without cause, from ADP; or (iv) about whom I have any Confidential
  Information or trade secret information.

            d.          "Competing Business" means any individual (including me), corporation, limited
  liability company, partnership, joint venture, association, or other entity, regardless of form, that is engaged in
  any business or enterprise that is the same as, or substantially the same as, that part of the Business of ADP in
  which I have worked or to which I have been exposed during my employment with ADP (regardless of whether
  I worked only for a particular segment of that part of the business in which I worked—for example, business
  segments based on the number of employees a Client has or a particular class of business using an ADP
  product or service).

            e.            "Confidential Information" means information and the compilation of information
  known or possessed by me because of my employment at ADP that is created, compiled, received or gathered
  by ADP or its agents and is related to the Business of ADP, that is valuable to ADP, and which ADP endeavors
  to protect from disclosure or use by its competitors and others who could benefit from its use, whether in
  written, tangible, electronic or any other form or media. Assuming the foregoing criteria are met, Confidential
  Information includes but is not limited to information about: ADP's operations, products, business plans,
  market strategies, and services; research and development of ADP products and services; ADP's intellectual
  property and trade secrets; Creative Works, including all publications, products, applications, processes, and
  software in any stage of development; names and other listings of current or prospective Clients, Business
  Partners, and Vendors (including contact information that may be compiled in computer databases that are not
  owned or controlled by ADP such as address books, personal digital assistants, smart phones, cloud storage
  services, and social and business websites); proposals made to current or prospective Clients, Business
  Partners, and Vendors or other information contained in offers or proposals to such Clients, Business Partners,
  and Vendors; the terms of any arrangements or agreements with Clients, Business Partners, and Vendors,
  including the amounts paid for such services or how pricing was developed by ADP, the implementation of
  Client-specific projects, the identity of Business Partners and Vendors, and Business Partner and Vendor
  pricing information, the composition or description of future services that are or may be provided by ADP;
  ADP's financial, marketing, and sales information; technical expertise and know-how developed by ADP,
  including the unique manner in which ADP conducts its business; employee lists, employee capabilities,
  employee compensation, prospective employee information, and employee training information and practices;
  Personally Identifiable Information; and Protected Health Information.           Confidential Information also
  includes any information disclosed to ADP by a third party (including, without limitation, current or
  prospective Clients, Business Partners, and Vendors) that ADP is obliged to treat as confidential. This
  definition of Confidential Information excludes information that is or becomes known or generally available in
  the public domain through lawful means, other than through my act or failure to act. This definition of
  Confidential Information and the use of the term Confidential Information in this Agreement are not meant to
  limit ADP's rights under applicable trade secrets laws, and ADP specifically reserves all of its rights under all
  applicable laws concerning trade secrets.

           f.           "Creative Works" means any and all works of authorship including, for example,
  written documents, spreadsheets, graphics, designs, trademarks, service marks, algorithms, computer programs
  or code, protocols, formulas, mask works, brochures, presentations, photographs, music or compositions,
  manuals, reports, and compilations of various elements, whether or not patentable or registrable under
  copyright, trademark, or similar domestic and international laws.

           g.            "Material Business Contact" means contact that is intended to establish or strengthen a
  business relationship for ADP.


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           h.           "Personally Identifiable Information" ("PII") is Confidential Information and
  includes an individual's first name and last name or first initial and last name in combination with any of the
  following: an individual's social security number, tax identification number, social insurance number, driver's
  license number, government-issued identification card number, financial or bank account information,
  healthcare information, or credit, debit or payroll card number.

           i.            "Protected Health Information" ("PHI") is Confidential Information and includes
  information that is created, received, and/or maintained by the Company related to an individual's health care
  (or payment related to health care) that directly or indirectly identifies the individual.

          j.         "Territory" means the geographic area where I worked, represented ADP, or had
 Material Business Contact with ADP's Clients in the two (2) year period preceding the termination of my
 employment with ADP.

           k.           "Vendors" means any individual, corporation, limited liability company, partnership,
 joint venture, association, or other entity, regardless of form, or government entity that supplies materials or
 services to ADP for internal use.

 2.        Duties and Best Efforts. I agree to provide to ADP and its Clients services related to the Business of
 ADP, as directed by ADP in its sole discretion. During employment, I agree to devote my full time and best
 efforts to ADP, not to provide to ADP's Clients or ADP's competitors the same or similar services or products
 as those provided to ADP other than on behalf of ADP, and not to engage in any other employment, consultant,
 or advisory relationship that is the same as, similar to, or related to my duties with ADP or the Business of
 ADP or that otherwise creates a conflict of interest with ADP. T also agree that I am prohibited from accessing
 any of ADP's Confidential Information, computer systems, servers, drives, or databases for any competitive or
 conflicting purpose and that any authorization for such access is revoked and prohibited by ADP once I engage
 in any competitive or conflicting activities or take any material steps towards accomplishing any competitive or
 conflicting activities. I further agree to not make any false or misleading statements regarding ADP or its
 products or services, and agree to not make any false or misleading statements or take action to mislead ADP
 regarding clients, prospective clients, business partners, or vendors, including falsifying documents.

 3.       Non-Competition. I agree that during my employment and for a period of twelve (12) months from
 the voluntary or involuntary termination of my employment for any reason and with or without cause, I will
 not, directly or indirectly, own, manage, operate, join, control, finance, be employed by or with, or participate
 in any manner with a Competing Business anywhere in the Territory where doing so will require me to (i)
 provide the same or substantially similar services to a Competing Business as those which I provided to ADP
 while employed, or (ii) use, disclose or disseminate ADP's Confidential Information or trade secrets.
 However, after my voluntary or involuntary termination of my employment for any reason and with or without
 cause, nothing shall prevent me from owning, as an inactive investor, securities of any competitor of ADP
 which is listed on a national securities exchange.

  4.       Non-Solicitation of and Non-Interference with Clients, Business Partners, and Vendors.

          a.        Clients: I agree that during my employment and for a period of twelve (12) months
 following the voluntary or involuntary termination of my employment for any reason and with or without
 cause, I will not, either on my own behalf or for any Competing Business, directly or indirectly, solicit, divert,
 appropriate, or accept any business from, or attempt to solicit, divert, appropriate, or accept any business from
 any Client for the purposes of providing products or services within the United States of America that are the
 same as or substantially similar to those provided in the Business of ADP. I also agree that I will not induce or
 encourage or attempt to induce or encourage any Clients to cease doing business with ADP or materially alter
 their business relationship with ADP.

            b.        Business Partners: I agree that during my employment and for a period of twelve (12)
  months following the voluntary or involuntary termination of my employment for any reason and with or
  without cause, I will not, either on my own behalf or for any Competing Business, directly or indirectly engage,
  contract with, solicit, divert, appropriate or accept any business from, or attempt to engage, contract with,
  solicit, divert, appropriate or accept any business from any Business Partner for the purpose of providing to me
  or any Competing Business any product or service within the United States of America that is (a) the same as
  or substantially similar to the product or service provided to ADP and which ADP uses for, uses for obtaining,
  or distributes to, its Clients or (b) specialized, customized or designed by the Business Partner for ADP. This

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 provision applies only to a Business Partner: (i) with whom ADP currently has a commercial or business
 relationship in connection with the Business of ADP; (ii) with whom ADP has had a commercial or business
 relationship in connection with the Business of ADP within the one (1) year period prior to my voluntary or
 involuntary termination of employment, for any reason, with or without cause, from ADP; or (iii) about whom
 I have any Confidential Information or trade secret information. I also agree that I will not induce or
 encourage or attempt to induce or encourage any Business Partner to cease doing business with ADP or
 materially alter their business relationship with ADP.

          c.        Vendors: I agree that during my employment and for a period of twelve (12) months
 following the voluntary or involuntary termination of my employment for any reason and with or without
 cause, I will not induce or encourage or attempt to induce or encourage any Vendor to cease doing business
 with ADP within the United States of America or materially alter their business relationship with ADP within
 the United States of America.

 5.       Non-Solicitation of Employees. I agree that during my employment with ADP and for a period of
 twelve (12) months following the voluntary or involuntary termination of my employment for any reason and
 with or without cause, I will not, directly or indirectly, hire, solicit, recruit, or encourage to leave ADP, any
 current employees of ADP or hire, solicit, recruit, or contract with employees who terminate their employment
 with ADP within twelve (12) months following my termination date. This restriction shall only apply to ADP
 employees located within the United States of America.

 6.        Non-Disclosure and Non-Use of Confidential Information and Trade Secrets. During my
 employment, except as authorized and required to perform my duties for ADP, and after the voluntary or
 involuntary termination of my employment for any reason and with or without cause, i will not access,
 disclose, use, reproduce, distribute, or otherwise disseminate ADP's Confidential Information or trade secrets
 or take any action causing, or fail to take any action necessary in order to prevent, any such information to lose
 its character or cease to qualify as Confidential Information or a trade secret. I agree to inquire with ADP if I
 have any questions about whether I am authorized or required to access, disclose, use, reproduce, distribute, or
 otherwise disseminate ADP's Confidential Information or whether particular information is Confidential
 Information or a trade secret before accessing, using or disclosing such information. I understand, however,
 that nothing in this Restrictive Covenant Agreement prohibits me from reporting possible violations of federal
 law or regulation to any governmental agency or entity or from communicating with any such agency or entity
 regarding the same. I also agree to immediately return to ADP all property and information belonging to ADP
 such as keys, credit cards, telephones, tools, equipment, computers, passwords, access codes, pin numbers, and
 electronic storage devices, as well as all originals, copies, or other physical embodiments of ADP's
 Confidential Information or trade secrets (regardless of whether it is in paper, electronic, or other form),
 including any such information in any programs, business forms, manuals, correspondence, files, databases, or
 on computer disks or any other storage medium, including but not limited to cloud storage, whether or not
 owned or controlled by me or ADP (e.g., social and business networking websites, web-based email servers,
 Notability, or cloud storage services), immediately upon termination of my employment or upon any earlier
 request by ADP, and I agree not to keep, access, disclose, use, reproduce, distribute, or otherwise disseminate
 any copies, electronic or otherwise, of any of the foregoing. I also understand that my obligations under this
 paragraph, as well as the other covenants in this Agreement, extend to my activities on the internet, including
 my use of business oriented social networking sites such as Linkedln and Facebook. This shall include
 deleting any business related connections or contacts, including all ADP Clients and Business Partners, that I
 inputted in or with whom I connected on any business oriented social networking sites, my Linkedln account,
 any cloud storage, any electronic device, or any cell phones while employed at ADP. Pursuant to 18 U.S.C. §
 1833(b), and as set forth fully therein, notice is hereby given that an individual shall not be held criminally or
 civilly liable under any federal or state trade secret law for the disclosure of a trade secret that is made in
 confidence to a federal, state, or local government official, either directly or indirectly, or to an attorney, solely
 for the purpose of reporting or investigating a suspected violation of law; or is made in a complaint or other
 document filed in a lawsuit or other proceeding, if such filing is made under seal. An individual who files a
 lawsuit for retaliation by an employer for reporting a suspected violation of law may disclose the trade secret to
 the attorney of the individual and use the trade secret information in the court proceeding, if the individual files
 any document containing the trade secret under seal and does not disclose the trade secret, except pursuant to
 court order.

 7.       Prior Agreements and Disclosure of Agreement to Third Parties. I represent that I am not a party
 to any agreement with any former employer or any other person or entity containing any non-disclosure, non-
 compete, non-solicitation, non-recruitment, intellectual property assignment, or other covenants that will affect

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  my ability to devote my full time and attention to the Business of ADP that has not already been disclosed to
  ADP in writing. I also agree to provide a copy of this Agreement to any subsequent employer, person, or entity
  to which I intend to provide services that may conflict with any of my obligations in this Agreement prior to
  engaging in any such activities and to provide ADP in writing the name and address of any such employer,
  person, or entity and a description of the services I intend to provide prior to engaging in any such activities. I
  agree that ADP may also provide a copy of this Agreement or a description of its terms to any Client,
  subsequent employer, or other third party at any time as it deems necessary to protect its interests, and I agree
  to indemnify ADP against any claims and hold ADP harmless from any losses, costs, attorneys' fees, expenses,
  fees, and damages arising out of my failure to comply with this paragraph or ADP's providing a copy of this
  Agreement or a description of its terms to any Client, subsequent employer, or other third party.

  8.        Severability and Reformation. I agree if any particular paragraph, subparagraph, phrase, word, or
  other portion of this Agreement is determined by an appropriate court to be invalid or unenforceable as written,
  it shall be modified as necessary to be made valid or enforceable, and such modification shall not affect the
  remaining provisions of this Agreement, or if it cannot be modified to be made valid or enforceable, then it
  shall be severed from this Agreement, and all remaining terms and provisions shall remain enforceable.

  9.        Choice of Law, Venue, and Jurisdiction. The interpretation, validity, and enforcement of this
  Agreement will be governed by the laws of the State of New Jersey, without regard to any conflicts of law
  principles that require the application of the law of another jurisdiction. I agree that any action by me to
  challenge the enforceability of this Agreement must be brought or litigated exclusively in the appropriate state
  or federal court located in the State of New Jersey. I also agree that any action by ADP to enforce this
  Agreement, as well as any related disputes or litigation related to this Agreement, may, but do not have to, be
  brought in the appropriate state or federal court located in the State of New Jersey. I agree and consent to the
  personal jurisdiction and venue of the federal or state courts of New Jersey for resolution of any disputes or
  litigation arising under or in connection with this Agreement or any challenge to this Agreement and waive any
  objections or defenses to personal jurisdiction or venue in any such proceeding before any such court.

 10.       Survival. I acknowledge that my employment relationship with ADP is "terminable at will" by either
 party and that ADP or I can terminate the relationship with or without cause and without following any specific
 procedures. Nothing contained in this Agreement is intended to or shall be relied upon to alter the "terminable
 at will" relationship between the parties. However, all non-competition, non-solicitation, non-disclosure and
 non-use, non-recruiting, intellectual property, and Agreement disclosure obligations under paragraphs three (3)
 through seven (7) of this Agreement shall survive the voluntary or involuntary termination of my employment
 for any reason and with or without cause, and no dispute regarding any other provisions of this Agreement or
 regarding my employment or the termination of my employment shall prevent the operation and enforcement
 of these obligations.

 11.       Relief, Remedies, and Enforcement. I acknowledge that ADP is engaged in a highly competitive
 business, and the covenants and restrictions contained in this Agreement, including the geographic and
 temporal restrictions, are reasonably designed to protect ADP's legitimate business interests, including ADP
 goodwill and client relations, Confidential Information and trade secrets, and the specialized skills and
 knowledge gained by me and ADP's other employees during our employment. I acknowledge and agree that a
 breach of any provision of this Agreement by me will cause serious and irreparable damage to ADP that will be
 difficult to quantify and for which a remedy at law for monetary damages alone may not be adequate.
 Accordingly, I agree that if ADP should bring an action to enforce its rights under this Agreement and ADP
 establishes that I have breached or threatened to breach any of my obligations under this Agreement, ADP shall
 be entitled, in addition to all remedies otherwise available in law or in equity, to a temporary restraining order,
 a preliminary injunction, and a permanent injunction enjoining such breach or threatened breach in any court of
 competent jurisdiction without the necessity of posting a surety bond, as well as an equitable accounting of all
 profits or benefits arising out of any violation of this Agreement. I also agree that nothing in this Agreement
 shall be construed to prohibit ADP from pursuing any and all other legal or equitable remedies available to it
 for breach of any of the provisions of this Agreement, including the disgorgement of any profits, bonuses,
 commissions, or fees realized by me, any subsequent employers, any business owned or operated by me or to
 which I provide services, or any of my agents, heirs, or assigns. I also agree that that the knowledge, skills, and
 abilities I possess at the time of commencement of my employment are sufficient to permit me to earn a
 livelihood satisfactory to me without violating any provision of paragraphs three (3) through seven (7) above,
 for example, by using such knowledge, skills, and abilities, or some of them, in the service of business that is
 not competitive with ADP. I further agree to pay any and all legal fees, including without limitation, all


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  attorneys' fees, court costs, and any other related fees and/or costs incurred by ADP in enforcing this
  Agreement.

  12.       Tolling. The restricted time periods in paragraphs three (3) through six (6) above shall be tolled
  during any time period that I am in violation of such covenants, as determined by a court of competent
  jurisdiction, so that ADP may realize the full benefit of its bargain. This tolling shall include any time period
  during which litigation is pending, but during which I have continued to violate such protective covenants and
  a court has declined to enjoin such conduct or I have failed to comply with any such injunction.

  13.      Cooperation. During my employment, I shall cooperate with ADP in any internal investigation or
  administrative, regulatory or judicial proceeding as reasonably requested by ADP (including, without
  limitation, being available to ADP upon reasonable notice for interviews and factual investigations, appearing
  at ADP's request to give testimony without requiring service of a subpoena or other legal process,
  volunteering to provide ADP all pertinent information and turning over to ADP all relevant documents which
  are or may come into my possession, all at times and on schedules that are reasonably consistent with my other
  permitted activities and commitments). In the event ADP requires my cooperation in accordance with this
  Section, ADP shall reimburse me solely for reasonable travel expenses (including lodging and meals, upon
  submission of receipts).

  14.      Entire Agreement and Validity of Terms. I agree that I do not rely, and have not relied, upon any
  representation or statement not set forth herein by ADP or any of ADP's agents, representatives, or attorneys,
  and that this Agreement may be changed only by a subsequent agreement in writing signed by both parties. I
  understand that I may have an existing agreement(s) with ADP, through acquisition of a prior employer or
  otherwise, that may include the same or similar covenants as those in this Agreement, and acknowledge that
  this Agreement is meant to supplement any such agreement(s) such that the covenants in the agreements that
  provide ADP with the greatest protection enforceable under applicable law shall control, and that the parties do
  not intend to create any ambiguity or conflict through the execution of this Agreement that would release me
  from the obligations I have assumed under the protective covenants in any of these agreements.

  15.     Electronic Signature. I agree that ADP may enforce this Agreement with a copy for which I have
  provided an electronic signature.

  16.      Assignment and Successorship. This Agreement and ADP's rights and obligations hereunder may
  be assigned by ADP and shall inure to the benefit of and shall be enforceable by any such assignee, as well as
  any of ADP's successors in interest. This Agreement and my rights and obligations may not be assigned by
  me, but are binding upon my heirs, administrators, executors, and personal representatives.

  17.      Waiver. ADP's waiver of a breach of any provision of this Agreement in any particular instance shall
  not be deemed to be a waiver of any other breach in any other instance and/or of ADP's other rights at law, in
  equity, or under this Agreement. ADP's failure to take action against any other employee for similar breaches
  shall not operate as a wavier by ADP of a breach as to me. Any waiver by ADP of any breach of this
  Agreement by me shall not be effective unless in writing signed by the President of ADP, and no such waiver
  with regards to me or any other person under a similar agreement shall operate or be construed as a waiver of
  the same type of breach or any other breach on a subsequent occasion by me or any other person or entity.

  18.       Jury Trial Waiver. I agree that, to the fullest extent permitted by law, each party waives any right to
  trial by jury with respect to any proceeding arising out of or relating to this Agreement.

  19.      Opportunity to Review. I agree that I have read this Agreement before signing it, understand its
  terms, and that I have had the opportunity to have legal counsel review this Agreement, prior to signing it, and
  I acknowledge that I have not been forced or coerced in any manner to sign this Agreement and do so of my
  own free will.


                After reviewing this document, close this window to continue the grant acceptance process.




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                                  [Award Acceptance Document 2 of 2]



      ADP
                                                                                            09/01/2017


                           RESTRICTIVE COVENANT AGREEMENT

           I am currently employed by Automatic Data Processing, Inc., or one of its subsidiaries or affiliated
 companies (collectively, "ADP") as a Sales Compensated Associate who enjoys substantial compensation and
 benefits from ADP, including participation in its 2008 Omnibus Award Plan, and as an ADP employee, I have
 had and will have access to Confidential Information, proprietary information, and trade secrets about the
 Business of ADP, ADP's operations, systems, techniques, software, and processes, its Clients, Business
 Partners, Vendors, and other unique trade and business methods, all of which are valuable assets of ADP that
 are developed at great effort and expense to ADP. I also have had or will have significant contact with ADP's
 current and prospective Clients, Business Partners, and/or Vendors in order to develop ADP's goodwill and
 client relations so that I can promote ADP's interests and objectives, and I understand that ADP has invested
 and will invest a significant amount of time and financial resources to develop my skills to assist me in
 performing my job duties for ADP. While these current and prospective Clients, Business Partners, and/or
 Vendors may be secured or serviced by ADP associates, including me, I acknowledge that such individuals or
 entities remain at all times those of ADP and that the goodwill engendered by the relationships is intended to
 inure only to the benefit of ADP; the goodwill is owned by ADP; and ADP shall be the sole beneficiary of such
 goodwill during and after the termination of my employment with ADP.

         i understand that ADP is a profit-generating business operating in a highly competitive business
 environment and that it has a valid interest in protecting its valuable assets, including its Confidential
 Information, proprietary information and trade secrets, its goodwill and business relationships with its Clients,
 Business Partners, Vendors, and employees, and the specialized training of its employees, and I recognize that
 my use of ADP's valuable assets, directly or indirectly, against or in competition with ADP, during and after
 my employment, will result in irreparable harm to ADP. Accordingly, I understand that this Agreement is
 meant to limit reasonably and fairly my competition during my employment and following the end of my
 employment, and to define the corresponding obligations between me and ADP regarding: (1) unfair
 competition, (2) the solicitation of Clients, Business Partners or Vendors for or on behalf of ADP's
 competitors, (3) the solicitation of ADP's employees, and (4) the treatment of proprietary information,
 Confidential Information, and trade secrets.

          NOW, THEREFORE, in consideration of my initial or continuing employment with ADP, ADP's
 disclosure to me of proprietary information, Confidential Information, and trade secrets to allow me to perform
 my duties for ADP, my participation in ADP's 2008 Omnibus Award Plan, the mutual benefits conferred
 herein, and for other good and valuable consideration (the receipt and sufficiency of all of which I hereby
 acknowledge), I agree as follows:

 1.       Definitions.

           a.          "Business of ADP" means the following businesses or services: (i) business
 outsourcing and human capital management solutions, including, without limitation, human resource, payroll,
 time, attendance and labor management, pre-employment, talent management, compliance and payment
 solutions, tax and benefits and retirement administration solutions and employment administration outsourcing
 solutions, which ADP provides globally; (ii) workers compensation and health insurance, which ADP provides
 in the United States and Canada through its licensed insurance agencies and consulting services relating to its
 business outsourcing and human capital management solutions; and (iii) data-driven business intelligence on
 issues in human capital management, employment, and workforce trends.

           b.           "Business Partners" means any individual, corporation, limited liability company,
 partnership, joint venture, association, or other entity, regardless of form, and their employees and agents, that
 is or has been in a commercial or business relationship with ADP (excluding Clients and Vendors), including,
 without limitation, (i) referral partners, resellers, brokers, distributors, licensees, franchisees and marketing
 partners, (ii) implementation, integration and development partners, (iii) co-investors and joint venture
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 partners, and (iv) any other individual or entity whose products or services ADP purchases, acquires or licenses
 for use with, or redistribution to, a third party (including Clients).

          c.            "Clients" means any individual, corporation, limited liability company, partnership,
 joint venture, association, or other entity, regardless of form, and their employees or agents, or government or
 quasi-government entity, and their employees or agents, for: (i) whom ADP provides products or services in
 connection with the Business of ADP; (ii) whom ADP has provided products or services in connection with the
 Business of ADP within the one (1) year period prior to my voluntary or involuntary termination of
 employment, for any reason, with or without cause, from ADP; (iii) whom I have solicited, contacted, called
 upon, communicated with, or attempted to communicate with on behalf of ADP in connection with the
 Business of ADP within the two (2) year period prior to my voluntary or involuntary termination of
 employment, for any reason, with or without cause, from ADP; or (iv) about whom I have any Confidential
 Information or trade secret information.

           d.          "Competing Business" means any individual (including me), corporation, limited
 liability company, partnership, joint venture, association, or other entity, regardless of form, that is engaged in
 any business or enterprise that is the same as, or substantially the same as, that part of the Business of ADP in
 which I have worked or to which I have been exposed during my employment with ADP (regardless of whether
 I worked only for a particular segment of that part of the business in which I worked—for example, business
 segments based on the number of employees a Client has or a particular class of business using an ADP
 product or service).

           e.            "Confidential Information" means information and the compilation of information
 known or possessed by me because of my employment at ADP that is created, compiled, received or gathered
 by ADP or its agents and is related to the Business of ADP, that is valuable to ADP, and which ADP endeavors
 to protect from disclosure or use by its competitors and others who could benefit from its use, whether in
 written, tangible, electronic or any other form or media. Assuming the foregoing criteria are met, Confidential
 Information includes but is not limited to information about: ADP's operations, products, business plans,
 market strategies, and services; research and development of ADP products and services; ADP's intellectual
 property and trade secrets; Creative Works, including all publications, products, applications, processes, and
 software in any stage of development; names and other listings of current or prospective Clients,. Business
 Partners, and Vendors (including contact information that may be compiled in computer databases that are not
 owned or controlled by ADP such as address books, personal digital assistants, smart phones, cloud storage
 services, and social and business websites); proposals made to current or prospective Clients, Business
 Partners, and Vendors or other information contained in offers or proposals to such Clients, Business Partners,
 and Vendors; the terms of any arrangements or agreements with Clients, Business Partners, and Vendors,
 including the amounts paid for such services or how pricing was developed by ADP, the implementation of
 Client-specific projects, the identity of Business Partners and Vendors, and Business Partner and Vendor
 pricing information, the composition or description of future services that are or may be provided by ADP;
 ADP's financial, marketing, and sales information; technical expertise and know-how developed by ADP,
 including the unique manner in which ADP conducts its business; employee lists, employee capabilities,
 employee compensation, prospective employee information, and employee training information and practices;
 Personally Identifiable Information; and Protected Health Information.           Confidential Information also
 includes any information disclosed to ADP by a third party (including, without limitation, current or
 prospective Clients, Business Partners, and Vendors) that ADP is obliged to treat as confidential. This
 definition of Confidential Information excludes information that is or becomes known or generally available in
 the public domain through lawfnl means, other than through my act or failure to act. This definition of
 Confidential Information and the use of the term Confidential Information in this Agreement are not meant to
 limit ADP's rights under applicable trade secrets laws, and ADP specifically reserves all of its rights under all
 applicable laws concerning trade secrets.

          f.           "Creative Works" means any and all works of authorship including, for example,
 written documents, spreadsheets, graphics, designs, trademarks, service marks, algorithms, computer programs
 or code, protocols, formulas, mask works, brochures, presentations, photographs, music or compositions,
 manuals, reports, and compilations of various elements, whether or not patentable or registrable under
 copyright, trademark, or similar domestic and international laws.

          g.            "Material Business Contact" means contact that is intended to establish or strengthen a
 business relationship for ADP.


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           h.           "Personally Identifiable Information" ("PH") is Confidential Information and
  includes an individual's first name and last name or first initial and last name in combination with any of the
  following: an individual's social security number, tax identification number, social insurance number, driver's
  license number, government-issued identification card number, financial or bank account information,
  healthcare information, or credit, debit or payroll card number.

           i.            "Protected Health Information" ("PM") is Confidential Information and includes
  information that is created, received, and/or maintained by the Company related to an individual's health care
  (or payment related to health care) that directly or indirectly identifies the individual.

          j.         "Territory" means the geographic area where I worked, represented ADP, or had
 Material Business Contact with ADP's Clients in the two (2) year period preceding the termination of my
 employment with ADP.

           k.           "Vendors" means any individual, corporation, limited liability company, partnership,
 joint venture, association, or other entity, regardless of form, or government entity that supplies materials or
 services to ADP for internal use.

 2.        Duties and Best Efforts. I agree to provide to ADP and its Clients services related to the Business of
 ADP, as directed by ADP in its sole discretion. During employment, I agree to devote my full time and best
 efforts to ADP, not to provide to ADP's Clients or ADP's competitors the same or similar services or products
 as those provided to ADP other than on behalf of ADP, and not to engage in any other employment, consultant,
 or advisory relationship that is the same as, similar to, or related to my duties with ADP or the Business of
 ADP or that otherwise creates a conflict of interest with ADP. I also agree that I am prohibited from accessing
 any of ADP's Confidential Information, computer systems, servers, drives, or databases for any competitive or
 conflicting purpose and that any authorization for such access is revoked and prohibited by ADP once I engage
 in any competitive or conflicting activities or take any material steps towards accomplishing any competitive or
 conflicting activities. I further agree to not make any false or misleading statements regarding ADP or its
 products or services, and agree to not make any false or misleading statements or take action to mislead ADP
 regarding clients, prospective clients, business partners, or vendors, including falsifying documents.

 3.       Non-Competition. I agree that during my employment and for a period of twelve (12) months from
 the voluntary or involuntary termination of my employment for any reason and with or without cause, I will
 not, directly or indirectly, own, manage, operate, join, control, finance, be employed by or with, or participate
 in any manner with a Competing Business anywhere in the Territory where doing so will require me to (i)
 provide the same or substantially similar services to a Competing Business as those which I provided to ADP
 while employed, or (ii) use, disclose or disseminate ADP's Confidential Information or trade secrets.
 However, after my voluntary or involuntary termination of my employment for any reason and with or without
 cause, nothing shall prevent me from owning, as an inactive investor, securities of any competitor of ADP
 which is listed on a national securities exchange.

  4.       Non-Solicitation of and Non-Interference with Clients, Business Partners, and Vendors.

          a.        Clients: I agree that during my employment and for a period of twelve (12) months
 following the voluntary or involuntary termination of my employment for any reason and with or without
 cause, I will not, either on my own behalf or for any Competing Business, directly or indirectly, solicit, divert,
 appropriate, or accept any business from, or attempt to solicit, divert, appropriate, or accept any business from
 any Client for the purposes of providing products or services within the United States of America that are the
 same as or substantially similar to those provided in the Business of ADP. I also agree that I will not induce or
 encourage or attempt to induce or encourage any Clients to cease doing business with ADP or materially alter
 their business relationship with ADP.

            b.        Business Partners: I agree that during my employment and for a period of twelve (12)
  months following the voluntary or involuntary termination of my employment for any reason and with or
  without cause, I will not, either on my own behalf or for any Competing Business, directly or indirectly engage,
  contract with, solicit, divert, appropriate or accept any business from, or attempt to engage, contract with,
  solicit, divert, appropriate or accept any business from any Business Partner for the purpose of providing to me
  or any Competing Business any product or service within the United States of America that is (a) the same as
  or substantially similar to the product or service provided to ADP and which ADP uses for, uses for obtaining,
  or distributes to, its Clients or (b) specialized, customized or designed by the Business Partner for ADP. This

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 provision applies only to a Business Partner: (i) with whom ADP currently has a commercial or business
 relationship in connection with the Business of ADP; (ii) with whom ADP has had a commercial or business
 relationship in connection with the Business of ADP within the one (1) year period prior to my voluntary or
 involuntary termination of employment, for any reason, with or without cause, from ADP; or (iii) about whom
 I have any Confidential Information or trade secret information. I also agree that I will not induce or
 encourage or attempt to induce or encourage any Business Partner to cease doing business with ADP or
 materially alter their business relationship with ADP.

          c.        Vendors: I agree that during my employment and for a period of twelve (12) months
 following the voluntary or involuntary termination of my employment for any reason and with or without
 cause, I will not induce or encourage or attempt to induce or encourage any Vendor to cease doing business
 with ADP within the United States of America or materially alter their business relationship with ADP within
 the United States of America.

 5.       Non-Solicitation of Employees. I agree that during my employment with ADP and for a period of
 twelve (12) months following the voluntary or involuntary termination of my employment for any reason and
 with or without cause, I will not, directly or indirectly, hire, solicit, recruit, or encourage to leave ADP, any
 current employees of ADP or hire, solicit, recruit, or contract with employees who terminate their employment
 with ADP within twelve (12) months following my termination date. This restriction shall only apply to ADP
 employees located within the United States of America.

 6.        Non-Disclosure and Non-Use of Confidential Information and Trade Secrets. During my
 employment, except as authorized and required to perform my duties for ADP, and after the voluntary or
 involuntary termination of my employment for any reason and with or without cause, T will not access,
 disclose, use, reproduce, distribute, or otherwise disseminate ADP's Confidential Information or trade secrets
 or take any action causing, or fail to take any action necessary in order to prevent, any such information to lose
 its character or cease to qualify as Confidential Information or a trade secret. I agree to inquire with ADP if I
 have any questions about whether I am authorized or required to access, disclose, use, reproduce, distribute, or
 otherwise disseminate ADP's Confidential Information or whether particular information is Confidential
 Information or a trade secret before accessing, using or disclosing such information. I understand, however,
 that nothing in this Restrictive Covenant Agreement prohibits me from reporting possible violations of federal
 Jaw or regulation to any governmental agency or entity or from communicating with any such agency or entity
 regarding the same. I also agree to immediately return to ADP all property and information belonging to ADP
 such as keys, credit cards, telephones, tools, equipment, computers, passwords, access codes, pin numbers, and
 electronic storage devices, as well as all originals, copies, or other physical embodiments of ADP's
 Confidential Information or trade secrets (regardless of whether it is in paper, electronic, or other form),
 including any such information in any programs, business forms, manuals, correspondence, files, databases, or
 on computer disks or any other storage medium, including but not limited to cloud storage, whether or not
 owned or controlled by me or ADP (e.g., social and business networking websites, web-based email servers,
 Notability, or cloud storage services), immediately upon termination of my employment or upon any earlier
 request by ADP, and I agree not to keep, access, disclose, use, reproduce, distribute, or otherwise disseminate
 any copies, electronic or otherwise, of any of the foregoing. I also understand that my obligations under this
 paragraph, as well as the other covenants in this Agreement, extend to my activities on the internet, including
 my use of business oriented social networking sites such as LinkedIn and Facebook. This shall include
 deleting any business related connections or contacts, including all ADP Clients and Business Partners, that I
 inputted in or with whom I connected on any business oriented social networking sites, my Linkedln account,
 any cloud storage, any electronic device, or any cell phones while employed at ADP. Pursuant to 18 U.S.C. §
  1833(b), and as set forth fully therein, notice is hereby given that an individual shall not be held criminally or
 civilly liable under any federal or state trade secret law for the disclosure of a trade secret that is made in
 confidence to a federal, state, or local government official, either directly or indirectly, or to an attorney, solely
 for the purpose of reporting or investigating a suspected violation of law; or is made in a complaint or other
  document filed in a lawsuit or other proceeding, if such filing is made under seal. An individual who files a
 lawsuit for retaliation by an employer for reporting a suspected violation of law may disclose the trade secret to
 the attorney of the individual and use the trade secret information in the court proceeding, if the individual files
 any document containing the trade secret under seal and does not disclose the trade secret, except pursuant to
  court order.

  7.       Prior Agreements and Disclosure of Agreement to Third Parties. I represent that I am not a party
  to any agreement with any former employer or any other person or entity containing any non-disclosure, non-
  compete, non-solicitation, non-recruitment, intellectual property assignment, or other covenants that will affect
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  my ability to devote my full time and attention to the Business of ADP that has not already been disclosed to
  ADP in writing. I also agree to provide a copy of this Agreement to any subsequent employer, person, or entity
  to which I intend to provide services that may conflict with any of my obligations in this Agreement prior to
  engaging in any such activities and to provide ADP in writing the name and address of any such employer,
  person, or entity and a description of the services I intend to provide prior to engaging in any such activities. I
  agree that ADP may also provide a copy of this Agreement or a description of its terms to any Client,
  subsequent employer, or other third party at any time as it deems necessary to protect its interests, and I agree
  to indemnify ADP against any claims and hold ADP harmless from any losses, costs, attorneys' fees, expenses,
  fees, and damages arising out of my failure to comply with this paragraph or ADP's providing a copy of this
  Agreement or a description of its terms to any Client, subsequent employer, or other third party.

  8.        Severability and Reformation. I agree if any particular paragraph, subparagraph, phrase, word, or
  other portion of this Agreement is determined by an appropriate court to be invalid or unenforceable as written,
  it shall be modified as necessary to be made valid or enforceable, and such modification shall not affect the
  remaining provisions of this Agreement, or if it cannot be modified to be made valid or enforceable, then it
  shall be severed from this Agreement, and all remaining terms and provisions shall remain enforceable.

  9.        Choice of Law, Venue, and Jurisdiction. The interpretation, validity, and enforcement of this
  Agreement will be governed by the laws of the State of New Jersey, without regard to any conflicts of law
  principles that require the application of the law of another jurisdiction. I agree that any action by me to
  challenge the enforceability of this Agreement must be brought or litigated exclusively in the appropriate state
  or federal court located in the State of New Jersey. I also agree that any action by ADP to enforce this
  Agreement, as well as any related disputes or litigation related to this Agreement, may, but do not have to, be
  brought in the appropriate state or federal court located in the State of New Jersey. T agree and consent to the
  personal jurisdiction and venue of the federal or state courts of New Jersey for resolution of any disputes or
  litigation arising under or in connection with this Agreement or any challenge to this Agreement and waive any
  objections or defenses to personal jurisdiction or venue in any such proceeding before any such court.

 10.       Survival. I acknowledge that my employment relationship with ADP is "terminable at will" by either
 party and that ADP or I can terminate the relationship with or without cause and without following any specific
 procedures. Nothing contained in this Agreement is intended to or shall be relied upon to alter the "terminable
 at will" relationship between the parties. However, all non-competition, non-solicitation, non-disclosure and
 non-use, non-recruiting, intellectual property, and Agreement disclosure obligations under paragraphs three (3)
 through seven (7) of this Agreement shall survive the voluntary or involuntary termination of my employment
 for any reason and with or without cause, and no dispute regarding any other provisions of this Agreement or
 regarding my employment or the termination of my employment shall prevent the operation and enforcement
 of these obligations.

 11.       Relief, Remedies, and Enforcement. I acknowledge that ADP is engaged in a highly competitive
 business, and the covenants and restrictions contained in this Agreement, including the geographic and
 temporal restrictions, are reasonably designed to protect ADP's legitimate business interests, including ADP
 goodwill and client relations, Confidential Information and trade secrets, and the specialized skills and
 knowledge gained by me and ADP's other employees during our employment. I acknowledge and agree that a
 breach of any provision of this Agreement by me will cause serious and irreparable damage to ADP that will be
 difficult to quantify and for which a remedy at law for monetary damages alone may not be adequate.
 Accordingly, I agree that if ADP should bring an action to enforce its rights under this Agreement and ADP
 establishes that I have breached or threatened to breach any of my obligations under this Agreement, ADP shall
 be entitled, in addition to all remedies otherwise available in law or in equity, to a temporary restraining order,
 a preliminary injunction, and a permanent injunction enjoining such breach or threatened breach in any court of
 competent jurisdiction without the necessity of posting a surety bond, as well as an equitable accounting of all
 profits or benefits arising out of any violation of this Agreement. I also agree that nothing in this Agreement
 shall be construed to prohibit ADP from pursuing any and all other legal or equitable remedies available to it
 for breach of any of the provisions of this Agreement, including the disgorgement of any profits, bonuses,
 commissions, or fees realized by me, any subsequent employers, any business owned or operated by me or to
 which I provide services, or any of my agents, heirs, or assigns. I also agree that that the knowledge, skills, and
 abilities I possess at the time of commencement of my employment are sufficient to permit me to earn a
 livelihood satisfactory to me without violating any provision of paragraphs three (3) through seven (7) above,
 for example, by using such knowledge, skills, and abilities, or some of them, in the service of business that is
 not competitive with ADP. I further agree to pay any and all legal fees, including without limitation, all


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 attorneys' fees, court costs, and any other related fees and/or costs incurred by ADP in enforcing this
 Agreement.

 12.       Tolling. The restricted time periods in paragraphs three (3) through six (6) above shall be tolled
 during any time period that I am in violation of such covenants, as determined by a court of competent
 jurisdiction, so that ADP may realize the full benefit of its bargain. This tolling shall include any time period
 during which litigation is pending, but during which I have continued to violate such protective covenants and
 a court has declined to enjoin such conduct or I have failed to comply with any such injunction.

 13.      Cooperation. During my employment, I shall cooperate with ADP in any internal investigation or
 administrative, regulatory or judicial proceeding as reasonably requested by ADP (including, without
 limitation, being available to ADP upon reasonable notice for interviews and factual investigations, appearing
 at ADP's request to give testimony without requiring service of a subpoena or other legal process,
 volunteering to provide ADP all pertinent information and turning over to ADP all relevant documents which
 are or may come into my possession, all at times and on schedules that are reasonably consistent with my other
 permitted activities and commitments). In the event ADP requires my cooperation in accordance with this
 Section, ADP shall reimburse me solely for reasonable travel expenses (including lodging and meals, upon
 submission of receipts).

 14.      Entire Agreement and Validity of Terms. I agree that I do not rely, and have not relied, upon any
 representation or statement not set forth herein by ADP or any of ADP's agents, representatives, or attorneys,
 and that this Agreement may be changed only by a subsequent agreement in writing signed by both parties. I
 understand that I may have an existing agreement(s) with ADP, through acquisition of a prior employer or
 otherwise, that may include the same or similar covenants as those in this Agreement, and acknowledge that
 this Agreement is meant to supplement any such agreement(s) such that the covenants in the agreements that
 provide ADP with the greatest protection enforceable under applicable law shall control, and that the parties do
 not intend to create any ambiguity or conflict through the execution of this Agreement that would release me
 from the obligations I have assumed under the protective covenants in any of these agreements.

 15.     Electronic Signature. I agree that ADP may enforce this Agreement with a copy for which I have
 provided an electronic signature.

 16.      Assignment and Successorship. This Agreement and ADP's rights and obligations hereunder may
 be assigned by ADP and shall inure to the benefit of and shall be enforceable by any such assignee, as well as
 any of ADP's successors in interest. This Agreement and my rights and obligations may not be assigned by
 me, but are binding upon my heirs, administrators, executors, and personal representatives.

 17.      Waiver. ADP's waiver of a breach of any provision of this Agreement in any particular instance shall
 not be deemed to be a waiver of any other breach in any other instance and/or of ADP's other rights at law, in
 equity, or under this Agreement. ADP's failure to take action against any other employee for similar breaches
 shall not operate as a wavier by ADP of a breach as to me. Any waiver by ADP of any breach of this
 Agreement by me shall not be effective unless in writing signed by the President of ADP, and no such waiver
 with regards to me or any other person under a similar agreement shall operate or be construed as a waiver of
 the same type of breach or any other breach on a subsequent occasion by me or any other person or entity.

 18.       Jury Trial Waiver. I agree that, to the fullest extent permitted by law, each party waives any right to
 trial by jury with respect to any proceeding arising out of or relating to this Agreement.

 19.      Opportunity to Review. I agree that I have read this Agreement before signing it, understand its
 terms, and that I have had the opportunity to have legal counsel review this Agreement, prior to signing it, and
 I acknowledge that I have not been forced or coerced in any manner to sign this Agreement and do so of my
 own free will.


              After reviewing this document, close this window to continue the grant acceptance process.




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                           EXHIBIT F
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                                [Award Acceptance Document 2 of 2]




                                                                                        09/01/2018


                           RESTRICTIVE COVENANT AGREEMENT

         I am currently employed by Automatic Data Processing, Inc., or one of its subsidiaries or
affiliated companies (collectively, "ADP") as an employee who enjoys substantial compensation and
benefits from ADP, including participation in its 2008 Omnibus Award Plan, and as an ADP
employee, I have had and will have access to Confidential Information, proprietary information, and
trade secrets about the Business of ADP, ADP's operations, systems, techniques, software, and
processes, its Clients, Business Partners, Vendors, and other unique trade and business methods, all of
which are valuable assets of ADP that are developed at great effort and expense to ADP. I also have
had or will have significant contact with ADP's current and prospective Clients, Business Partners,
and/or Vendors in order to develop ADP's goodwill and client relations so that I can promote ADP's
interests and objectives, and I understand that ADP has invested and will invest a significant amount of
time and financial resources to develop my skills to assist me in performing my job duties for ADP.
While these current and prospective Clients, Business Partners, and/or Vendors may be secured or
serviced by ADP associates, including me, I acknowledge that such individuals or entities remain at all
times those of ADP and that the goodwill engendered by the relationships is intended to inure only to
the benefit of ADP; the goodwill is owned by ADP; and ADP shall be the sole beneficiary of such
goodwill during and after the termination of my employment with ADP.

        I understand that ADP is a profit-generating business operating in a highly competitive
business environment and that it has a valid interest in protecting its valuable assets, including its
Confidential Information, proprietary information and trade secrets, its goodwill and business
relationships with its Clients, Business Partners, Vendors, and employees, and the specialized training
of its employees, and I recognize that my use of ADP's valuable assets, directly or indirectly, against
or in competition with ADP, during and after my employment, will result in irreparable harm to ADP.
Accordingly, I understand that this Agreement is meant to limit reasonably and fairly my competition
during my employment and following the end of my employment, and to define the corresponding
obligations between me and ADP regarding: (1) unfair competition, (2) the solicitation of Clients,
Business Partners or Vendors for or on behalf of ADP's competitors, (3) the solicitation of ADP's
employees, and (4) the treatment of proprietary information, Confidential Information, and trade
secrets.

        NOW, THEREFORE, in consideration of my initial or continuing employment, my
participation in the 2008 Omnibus Award Plan and the receipt by me of valuable restricted stock in
ADP, ADP's disclosure to me of proprietary information, Confidential Information, and trade secrets
to allow me to perform my duties for ADP, the mutual benefits conferred herein, and for other good
and valuable consideration (the receipt and sufficiency of all of which I hereby acknowledge), I agree
as follows:



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1.       Definitions.

        a.      "Business of ADP" means the following businesses or services: (i) business
outsourcing and human capital management solutions, including, without limitation, human resource,
payroll, time, attendance and labor management, pre-employment, talent management, compliance and
payment solutions, tax and benefits and retirement administration solutions and employment
administration outsourcing solutions, which ADP provides globally; (ii) workers compensation and
health insurance, which ADP provides in the United States and Canada through its licensed insurance
agencies and consulting services relating to its business outsourcing and human capital management
solutions; and (iii) data-driven business intelligence on issues in human capital management,
employment, and workforce trends.

        b.      "Business Partners" means any individual, corporation, limited liability company,
partnership, joint venture, association, or other entity, regardless of form, and their employees and
agents, that is or has been in a commercial or business relationship with ADP (excluding Clients and
Vendors), including, without limitation, (i) referral partners, resellers, brokers, distributors, licensees,
franchisees and marketing partners, (ii) implementation, integration and development partners, (iii) co-
investors and joint venture partners, and (iv) any other individual or entity whose products or services
ADP purchases, acquires or licenses for use with, or redistribution to, a third party (including Clients).

         c.    "Clients" means any individual, corporation, limited liability company, partnership,
joint venture, association, or other entity, regardless of form, and their employees or agents, or
government or quasi-government entity, and their employees or agents, for: (i) whom ADP provides
products or services in connection with the Business of ADP; (ii) whom ADP has provided products or
services in connection with the Business of ADP within the one (1) year period prior to my voluntary
or involuntary termination of employment, for any reason, with or without cause, from ADP; (iii)
whom I have solicited, contacted, called upon, communicated with, or attempted to communicate with
on behalf of ADP in connection with the Business of ADP within the two (2) year period prior to my
voluntary or involuntary termination of employment, for any reason, with or without cause, from ADP;
or (iv) about whom I have any Confidential Information or trade secret information.

         d.     "Competing Business" means any individual (including me), corporation, limited
liability company, partnership, joint venture, association, or other entity, regardless of form, that is
engaged in any business or enterprise that is the same as, or substantially the same as, that part of the
Business of ADP in which I have worked or to which I have been exposed during my employment
with ADP (regardless of whether I worked only for a particular segment of that part of the business in
which I worked—for example, business segments based on the number of employees a Client has or a
particular class of business using an ADP product or service).

        e.     "Confidential Information" means information and the compilation of information
known or possessed by me because of my employment at ADP that is created, compiled, received or
gathered by ADP or its agents and is related to the Business of ADP, that is valuable to ADP, and
which ADP endeavors to protect from disclosure or use by its competitors and others who could
benefit from its use, whether in written, tangible, electronic or any other form or media. Assuming the
foregoing criteria are met, Confidential Information includes but is not limited to information about:
ADP's operations, products, business plans, market strategies, and services; research and development
of ADP products and services; ADP's intellectual property and trade secrets; Creative Works,
including all publications, products, applications, processes, and software in any stage of development;
names and other listings of current or prospective Clients, Business Partners, and Vendors (including
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contact information that may be compiled in computer databases that are not owned or controlled by
ADP such as address books, personal digital assistants, smart phones, cloud storage services, and
social and business websites); proposals made to current or prospective Clients, Business Partners, and
Vendors or other information contained in offers or proposals to such Clients, Business Partners, and
Vendors; the terms of any arrangements or agreements with Clients, Business Partners, and Vendors,
including the amounts paid for such services or how pricing was developed by ADP, the
implementation of Client-specific projects, the identity of Business Partners and Vendors, and
Business Partner and Vendor pricing information, the composition or description of future services that
are or may be provided by ADP; ADP's financial, marketing, and sales information; technical
expertise and know-how developed by ADP, including the unique manner in which ADP conducts its
business; employee lists, employee capabilities, employee compensation, prospective employee
information, and employee training information and practices; Personally Identifiable Information; and
Protected Health Information. Confidential Information also includes any information disclosed to
ADP by a third party (including, without limitation, current or prospective Clients, Business Partners,
and Vendors) that ADP is obliged to treat as confidential. This definition of Confidential Information
excludes information that is or becomes known or generally available in the public domain through
lawful means, other than through my act or failure to act. This definition of Confidential Information
and the use of the term Confidential Information in this Agreement are not meant to limit ADP's rights
under applicable trade secrets laws, and ADP specifically reserves all of its rights under all applicable
laws concerning trade secrets.

        f.     "Creative Works" means any and all works of authorship including, for example,
written documents, spreadsheets, graphics, designs, trademarks, service marks, algorithms, computer
programs or code, protocols, formulas, mask works, brochures, presentations, photographs, music or
compositions, manuals, reports, and compilations of various elements, whether or not patentable or
registrable under copyright, trademark, or similar domestic and international laws.

       g.      "Material Business Contact" means contact that is intended to establish or strengthen
a business relationship for ADP.

        h.     "Personally Identifiable Information" ("PII") is Confidential Information and
includes an individual's first name and last name or first initial and last name in combination with any
of the following: an individual's social security number, tax identification number, social insurance
number, driver's license number, government-issued identification card number, financial or bank
account information, healthcare information, or credit, debit or payroll card number.

        i.      "Protected Health Information" ("PHI") is Confidential Information and includes
information that is created, received, and/or maintained by the Company related to an individual's
health care (or payment related to health care) that directly or indirectly identifies the individual.

       j.     "Territory" means the geographic area where I worked, represented ADP, or had
Material Business Contact with ADP's Clients in the two (2) year period preceding the termination of
my employment with ADP.

       k.      "Vendors" means any individual, corporation, limited liability company, partnership,
joint venture, association, or other entity, regardless of form, or government entity that supplies
materials or services to ADP for internal use.



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2.       Consideration and Effective Date. I acknowledge that in exchange for my participation in the
2008 Omnibus Award Plan and the receipt by me of valuable restricted stock I am agreeing to the
restrictions contained in this Restrictive Covenant Agreement. I acknowledge this consideration is fair
and reasonable. The restrictions in this Restrictive Covenant Agreement shall be effective 10 business
days after I accept this agreement.

3.      Duties and Best Efforts. I agree to provide to ADP and its Clients services related to the
Business of ADP, as directed by ADP in its sole discretion. During employment, I agree to devote my
full time and best efforts to ADP, not to provide to ADP's Clients or ADP's competitors the same or
similar services or products as those provided to ADP other than on behalf of ADP, and not to engage
in any other employment, consultant, or advisory relationship that is the same as, similar to, or related
to my duties with ADP or the Business of ADP or that otherwise creates a conflict of interest with
ADP. I also agree that I am prohibited from accessing any of ADP's Confidential Information,
computer systems, servers, drives, or databases for any competitive or conflicting purpose and that any
authorization for such access is revoked and prohibited by ADP once I engage in any competitive or
conflicting activities or take any material steps towards accomplishing any competitive or conflicting
activities. I further agree to not make any false or misleading statements regarding ADP or its products
or services, and agree to not make any false or misleading statements or take action to mislead ADP
regarding clients, prospective clients, business partners, or vendors, including falsifying documents.

4.      Non-Competition. I agree that during my employment and for a period of twelve (12) months
from the voluntary or involuntary termination of my employment for any reason and with or without
cause, I will not, directly or indirectly, own, manage, operate, join, control, finance, be employed by or
with, or participate in any manner with a Competing Business anywhere in the Territory where doing
so will require me to (i) provide the same or substantially similar services to a Competing Business as
those which I provided to ADP while employed, or (ii) use, disclose or disseminate ADP's
Confidential Information or trade secrets. However, after my voluntary or involuntary termination of
my employment for any reason and with or without cause, nothing shall prevent me from owning, as
an inactive investor, securities of any competitor of ADP which is listed on a national securities
exchange.

5.       Non-Solicitation of and Non-Interference with Clients, Business Partners, and Vendors.

        a.      Clients: I agree that during my employment and for a period of twelve (12) months
following the voluntary or involuntary termination of my employment for any reason and with or
without cause, I will not, either on my own behalf or for any Competing Business, directly or
indirectly, solicit, divert, appropriate, or accept any business from, or attempt to solicit, divert,
appropriate, or accept any business from any Client: (i) to whom ADP provides products or services
and is located in a state in which I have performed services for ADP during the two (2) year period
prior the termination of my employment with ADP, (ii) to whom ADP has provided products or
services within the one (1) year period prior to the termination of my employment with ADP and is
located in a state in which I have performed services for ADP during the two (2) year period prior to
the termination of my employment from ADP, (iii) whom I have solicited or contacted on behalf of
ADP within the two (2) year period prior to the termination of my employment with ADP, or (iv)
about whom I have any confidential, proprietary or trade secret information. I also agree that I will not
induce or encourage or attempt to induce or encourage any Clients to cease doing business with ADP
or materially alter their business relationship with ADP.



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        b.      Business Partners: I agree that during my employment and for a period of twelve (12)
months following the voluntary or involuntary termination of my employment for any reason and with
or without cause, I will not, either on my own behalf or for any Competing Business, directly or
indirectly engage, contract with, solicit, divert, appropriate or accept any business from, or attempt to
engage, contract with, solicit, divert, appropriate or accept any business from any Business Partner for
the purpose of providing to me or any Competing Business any product or service within the United
States of America that is (a) the same as or substantially similar to the product or service provided to
ADP and which ADP uses for, uses for obtaining, or distributes to, its Clients or (b) specialized,
customized or designed by the Business Partner for ADP. This provision applies only to a Business
Partner: (i) with whom ADP currently has a commercial or business relationship in connection with the
Business of ADP; (ii) with whom ADP has had a commercial or business relationship in connection
with the Business of ADP within the one (1) year period prior to my voluntary or involuntary
termination of employment, for any reason, with or without cause, from ADP; or (iii) about whom I
have any Confidential Information or trade secret information. I also agree that I will not induce or
encourage or attempt to induce or encourage any Business Partner to cease doing business with ADP
or materially alter their business relationship with ADP.

        c.     Vendors: I agree that during my employment and for a period of twelve (12) months
following the voluntary or involuntary termination of my employment for any reason and with or
without cause, I will not induce or encourage or attempt to induce or encourage any Vendor to cease
doing business with ADP within the United States of America or materially alter their business
relationship with ADP within the United States of America.

6.     Non-Solicitation of Employees. I agree that during my employment with ADP and for a
period of twelve (12) months following the voluntary or involuntary termination of my employment
for any reason and with or without cause, I will not, directly or indirectly, hire, solicit, recruit, or
encourage to leave ADP, any current employees of ADP or hire, solicit, recruit, or contract with
employees who terminate their employment with ADP within twelve (12) months following my
termination date. This restriction shall only apply to ADP employees located within the United States
of America.

7.      Non-Disclosure and Non-Use of Confidential Information and Trade Secrets. During my
employment, except as authorized and required to perform my duties for ADP, and after the voluntary
or involuntary termination of my employment for any reason and with or without cause, I will not
access, disclose, use, reproduce, distribute, or otherwise disseminate ADP's Confidential Information
or trade secrets or take any action causing, or fail to take any action necessary in order to prevent, any
such information to lose its character or cease to qualify as Confidential Information or a trade secret.
I agree to inquire with ADP if I have any questions about whether I am authorized or required to
access, disclose, use, reproduce, distribute, or otherwise disseminate ADP's Confidential Information
or whether particular information is Confidential Information or a trade secret before accessing, using
or disclosing such information. I understand, however, that nothing in this Restrictive Covenant
Agreement prohibits me from reporting possible violations of federal law or regulation to any
governmental agency or entity or from communicating with any such agency or entity regarding the
same. I also agree to immediately return to ADP all property and information belonging to ADP such
as keys, credit cards, telephones, tools, equipment, computers, passwords, access codes, pin numbers,
and electronic storage devices, as well as all originals, copies, or other physical embodiments of ADP's
ociation, or other entity, regardless of form, andess of whether it is in paper, electronic, or other form),
form), including any such information in any programs, business forms, manuals, correspondence,
files, databases, or on computer disks or any other storage medium, including but not limited to cloud
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storage, whether or not owned or controlled by me or ADP (e.g., social and business networking
websites, web-based email servers, Notability, or cloud storage services), immediately upon
termination of my employment or upon any earlier request by ADP, and I agree not to keep, access,
disclose, use, reproduce, distribute, or otherwise disseminate any copies, electronic or otherwise, of
any of the foregoing. I also understand that my obligations under this paragraph, as well as the other
covenants in this Agreement, extend to my activities on the internet, including my use of business
oriented social networking sites such as LinkedIn and Facebook. This shall include deleting any
business related connections or contacts, including all ADP Clients and Business Partners, that I
inputted in or with whom I connected on any business oriented social networking sites, my LinkedIn
account, any cloud storage, any electronic device, or any cell phones while employed at ADP.
Pursuant to 18 U.S.C. § 1833(b), and as set forth fully therein, notice is hereby given that an individual
shall not be held criminally or civilly liable under any federal or state trade secret law for the
disclosure of a trade secret that is made in confidence to a federal, state, or local government official,
either directly or indirectly, or to an attorney, solely for the purpose of reporting or investigating a
suspected violation of law; or is made in a complaint or other document filed in a lawsuit or other
proceeding, if such filing is made under seal. An individual who files a lawsuit for retaliation by an
employer for reporting a suspected violation of law may disclose the trade secret to the attorney of the
individual and use the trade secret information in the court proceeding, if the individual files any
document containing the trade secret under seal and does not disclose the trade secret, except pursuant
to court order.

8.      Prior Agreements and Disclosure of Agreement to Third Parties. I represent that I am not a
party to any agreement with any former employer or any other person or entity containing any non-
disclosure, non-compete, non-solicitation, non-recruitment, intellectual property assignment, or other
covenants that will affect my ability to devote my full time and attention to the Business of ADP that
has not already been disclosed to ADP in writing. I also agree to provide a copy of this Agreement to
any subsequent employer, person, or entity to which I intend to provide services that may conflict with
any of my obligations in this Agreement prior to engaging in any such activities and to provide ADP in
writing the name and address of any such employer, person, or entity and a description of the services I
intend to provide prior to engaging in any such activities. I agree that ADP may also provide a copy of
this Agreement or a description of its terms to any Client, subsequent employer, or other third party at
any time as it deems necessary to protect its interests, and I agree to indemnify ADP against any claims
and hold ADP harmless from any losses, costs, attorneys' fees, expenses, fees, and damages arising out
of my failure to comply with this paragraph or ADP's providing a copy of this Agreement or a
description of its terms to any Client, subsequent employer, or other third party.

9.     Severability and Reformation. I agree if any particular paragraph, subparagraph, phrase,
word, or other portion of this Agreement is determined by an appropriate court to be invalid or
unenforceable as written, it shall be modified as necessary to be made valid or enforceable, and such
modification shall not affect the remaining provisions of this Agreement, or if it cannot be modified to
be made valid or enforceable, then it shall be severed from this Agreement, and all remaining terms
and provisions shall remain enforceable.

10.     Choice of Law, Venue, and Jurisdiction. The interpretation, validity, and enforcement of this
Agreement will be governed by the laws of the State of New Jersey, without regard to any conflicts of
law principles that require the application of the law of another jurisdiction, to the extent permitted by
the law. I agree that any action by me to challenge the enforceability of this Agreement must be
brought or litigated exclusively in the appropriate state or federal court located in the State of New
Jersey, to the extent permitted by law. I also agree that any action by ADP to enforce this Agreement,
    {7565326:2 }                                    19
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as well as any related disputes or litigation related to this Agreement, may, but do not have to, be
brought in the appropriate state or federal court located in the State of New Jersey. I agree and consent
to the personal jurisdiction and venue of the federal or state courts of New Jersey for resolution of any
disputes or litigation arising under or in connection with this Agreement or any challenge to this
Agreement and waive any objections or defenses to personal jurisdiction or venue in any such
proceeding before any such court.

H.       Survival. I acknowledge that my employment relationship with ADP is "terminable at will" by
either party and that ADP or I can terminate the relationship with or without cause and without
following any specific procedures. Nothing contained in this Agreement is intended to or shall be
relied upon to alter the "terminable at will" relationship between the parties. However, all non-
competition, non-solicitation, non-disclosure and non-use, non-recruiting, intellectual property, and
Agreement disclosure obligations under paragraphs three (3) through seven (7) of this Agreement shall
survive the voluntary or involuntary termination of my employment for any reason and with or without
cause, and no dispute regarding any other provisions of this Agreement or regarding my employment
or the termination of my employment shall prevent the operation and enforcement of these obligations.

12.     Relief, Remedies, and Enforcement. I acknowledge that ADP is engaged in a highly
competitive business, and the covenants and restrictions contained in this Agreement, including the
geographic and temporal restrictions, are reasonably designed to protect ADP's legitimate business
interests, including ADP goodwill and client relations, Confidential Information and trade secrets, and
the specialized skills and knowledge gained by me and ADP's other employees during our
employment. I acknowledge and agree that a breach of any provision of this Agreement by me will
cause serious and irreparable damage to ADP that will be difficult to quantify and for which a remedy
at law for monetary damages alone may not be adequate. Accordingly, I agree that if ADP should
bring an action to enforce its rights under this Agreement and ADP establishes that I have breached or
threatened to breach any of my obligations under this Agreement, ADP shall be entitled, in addition to
all remedies otherwise available in law or in equity, to a temporary restraining order, a preliminary
injunction, and a permanent injunction enjoining such breach or threatened breach in any court of
competent jurisdiction without the necessity of posting a surety bond, as well as an equitable
accounting of all profits or benefits arising out of any violation of this Agreement. I also agree that
nothing in this Agreement shall be construed to prohibit ADP from pursuing any and all other legal or
equitable remedies available to it for breach of any of the provisions of this Agreement, including the
disgorgement of any profits, bonuses, commissions, or fees realized by me, any subsequent employers,
any business owned or operated by me or to which I provide services, or any of my agents, heirs, or
assigns. I also agree that that the knowledge, skills, and abilities I possess at the time of
commencement of my employment are sufficient to permit me to earn a livelihood satisfactory to me
without violating any provision of paragraphs three (3) through seven (7) above, for example, by using
such knowledge, skills, and abilities, or some of them, in the service of business that is not competitive
with ADP. I further agree to pay any and all legal fees, including without limitation, all attorneys'
fees, court costs, and any other related fees and/or costs incurred by ADP in enforcing this Agreement.

13.     Tolling. The restricted time periods in paragraphs three (3) through six (6) above shall be
tolled during any time period that I am in violation of such covenants, as determined by a court of
competent jurisdiction, so that ADP may realize the full benefit of its bargain. This tolling shall
include any time period during which litigation is pending, but during which I have continued to
violate such protective covenants and a court has declined to enjoin such conduct or I have failed to
comply with any such injunction.


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14.     Cooperation. During my employment, I shall cooperate with ADP in any internal
investigation or administrative, regulatory or judicial proceeding as reasonably requested by ADP
(including, without limitation, being available to ADP upon reasonable notice for interviews and
factual investigations, appearing at ADP's request to give testimony without requiring service of a
subpoena or other legal process, volunteering to provide ADP all pertinent information and turning
over to ADP all relevant documents which are or may come into my possession, all at times and on
schedules that are reasonably consistent with my other permitted activities and commitments). In the
event ADP requires my cooperation in accordance with this Section, ADP shall reimburse me solely
for reasonable travel expenses (including lodging and meals, upon submission of receipts).

15.     Entire Agreement and Validity of Terms. I agree that I do not rely, and have not relied,
upon any representation or statement not set forth herein by ADP or any of ADP's agents,
representatives, or attorneys, and that this Agreement may be changed only by a subsequent agreement
in writing signed by both parties. I understand that I may have an existing agreement(s) with ADP,
through acquisition of a prior employer or otherwise, that may include the same or similar covenants as
those in this Agreement, and acknowledge that this Agreement is meant to supplement any such
agreement(s) such that the covenants in the agreements that provide ADP with the greatest protection
enforceable under applicable law shall control, and that the parties do not intend to create any
ambiguity or conflict through the execution of this Agreement that would release me from the
obligations I have assumed under the protective covenants in any of these agreements.

16.     Electronic Signature. I agree that ADP may enforce this Agreement with a copy for which I
have provided an electronic signature. I agree that my electronic signature, including my acceptance of
this agreement via a website is, is a valid signature by me.

17.     Assignment and Successorship. This Agreement and ADP's rights and obligations hereunder
may be assigned by ADP and shall inure to the benefit of and shall be enforceable by any such
assignee, as well as any of ADP's successors in interest. This Agreement and my rights and
obligations may not be assigned by me, but are binding upon my heirs, administrators, executors, and
personal representatives.

18.     Waiver. ADP's waiver of a breach of any provision of this Agreement in any particular
instance shall not be deemed to be a waiver of any other breach in any other instance and/or of ADP's
other rights at law, in equity, or under this Agreement. ADP's failure to take action against any other
employee for similar breaches shall not operate as a wavier by ADP of a breach as to me. Any waiver
by ADP of any breach of this Agreement by me shall not be effective unless in writing signed by the
President of ADP, and no such waiver with regards to me or any other person under a similar
agreement shall operate or be construed as a waiver of the same type of breach or any other breach on
a subsequent occasion by me or any other person or entity.

19.     Jury Trial Waiver. I agree that, to the fullest extent permitted by law, each party waives any
right to trial by jury with respect to any proceeding arising out of or relating to this Agreement.

20.     Opportunity to Review. I agree that I have read this Agreement before signing it, understand
its terms, and that I have had the opportunity to have legal counsel review this Agreement, prior to
signing it, and I acknowledge that I have not been forced or coerced in any manner to sign this
Agreement and do so of my own free will.



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    After reviewing this document, close this window to continue the grant acceptance process.




IPP6049U

09/25/2018 10:08 AM U.S. Eastern Standard Time

ACCEPTED




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                           EXHIBIT G
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                                 [Award Acceptance Document 2 of 2]


             D


                                                                             Award Date: 04/14/2021

                            RESTRICTIVE COVENANT AGREEMENT

         I am currently employed by Automatic Data Processing, Inc., or one of its subsidiaries or
affiliated companies (collectively, "ADP"), as an employee who enjoys substantial compensation and
benefits from ADP, including participation in its 2018 Omnibus Award Plan, and as an ADP employee,
I have had and will have access to Confidential Information, proprietary information, and trade secrets
about the Business of ADP, ADP's operations, systems, techniques, software, and processes, its Clients,
Business Partners, Vendors, and other unique trade and business methods, all of which are valuable
assets of ADP that are developed at great effort and expense to ADP. I also have had or will have
significant contact with ADP's current and prospective Clients, Business Partners, and/or Vendors in
order to develop ADP's goodwill and client relations so that I can promote ADP's interests and
objectives, and I understand that ADP has invested and will invest a significant amount of time and
financial resources to develop my skills to assist me in performing my job duties for ADP. While these
current and prospective Clients, Business Partners, and/or Vendors may be secured or serviced by ADP
associates, including me, I acknowledge that such individuals or entities remain at all times those of
ADP and that the goodwill engendered by the relationships is intended to inure only to the benefit of
ADP; the goodwill is owned by ADP; and ADP shall be the sole beneficiary of such goodwill during
and after the termination of my employment with ADP.

        I understand that ADP is a profit-generating business operating in a highly competitive business
environment and that it has a valid interest in protecting its valuable assets, including its Confidential
Information, proprietary information and trade secrets, its goodwill and business relationships with its
Clients, Business Partners, Vendors, and employees, and the specialized training of its employees, and I
recognize that my use of ADP's valuable assets, directly or indirectly, against or in competition with
ADP, during and after my employment, will result in irreparable harm to ADP. Accordingly, I
understand that this Agreement is meant to limit reasonably and fairly my competition during my
employment and following the end of my employment, and to define the corresponding obligations
between me and ADP regarding: (1) unfair competition, (2) the solicitation of Clients, Business Partners
or Vendors for or on behalf of ADP's competitors, (3) the solicitation of ADP's employees, and (4) the
treatment of proprietary information, Confidential Information, and trade secrets.

       NOW, THEREFORE, in consideration of my continuing employment, my participation in the
2018 Omnibus Award Plan and the receipt by me of valuable stock in ADP, ADP's disclosure to me of
proprietary information, Confidential Information, and trade secrets to allow me to perform my duties
for ADP, the mutual benefits conferred herein, and for other good and valuable consideration (the receipt
and sufficiency of all of which I hereby acknowledge), I agree as follows:

1.       Definitions.

       a.     "Business of ADP" means the following businesses or services: (i) business outsourcing
and human capital management solutions, including, without limitation, human resource, payroll, time,
attendance and labor management, pre-employment, talent management, compliance and payment
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solutions, tax and benefits and retirement administration solutions and employment administration
outsourcing solutions, which ADP provides globally; (ii) workers compensation and health insurance,
which ADP provides in the United States and Canada through its licensed insurance agencies and
consulting services relating to its business outsourcing and human capital management solutions; and
(iii) data-driven business intelligence on issues in human capital management, employment, and
workforce trends.

         b.     "Business Partners" means any individual, corporation, limited liability company,
partnership, joint venture, association, or other entity, regardless of form, and their employees and
agents, that is or has been in a commercial or business relationship with ADP (excluding Clients and
Vendors), including, without limitation, (i) referral sources or partners, resellers, brokers, distributors,
licensees, franchisees and marketing partners, (ii) implementation, integration and development partners,
(iii) co-investors and joint venture partners, and (iv) any other individual or entity whose products or
services ADP purchases, acquires or licenses for use with, or redistribution to, a third party (including
Clients). Business Partners under this Agreement are not limited to individuals or entities that have
exclusive relationships and/or contractual relationships with ADP.

       c.      "Clients" means any individual, corporation, limited liability company, partnership, joint
venture, association, or other entity, regardless of form, and their employees or agents, or government
or quasi-government entity, and their employees or agents, for: (i) whom ADP provides products or
services in connection with the Business of ADP; (ii) whom ADP has provided products or services in
connection with the Business of ADP within the one (1) year period prior to my voluntary or involuntary
termination of employment, for any reason, with or without cause, from ADP; (iii) whom I have solicited,
contacted, called upon, communicated with, or attempted to communicate with on behalf of ADP in
connection with the Business of ADP within the two (2) year period prior to my voluntary or involuntary
termination of employment, for any reason, with or without cause, from ADP; or (iv) about whom I have
any Confidential Information or trade secret information.

         d.     "Competing Business" means any individual (including me), corporation, limited
liability company, partnership, joint venture, association, or other entity, regardless of form, that is
engaged in any business or enterprise that is the same as, or substantially the same as, that part of the
Business of ADP in which I have worked or to which I have been exposed during the last two years of
my employment with ADP (regardless of whether I worked only for a particular segment of that part of
the business in which I worked—for example, business segments based on the number of employees a
Client has or a particular class of business using an ADP product or service).

        e.     "Confidential Information" means information, or any compilation of information,
known or possessed by me because of my employment at ADP that is created, compiled, received, or
gathered by ADP or its agents and is related to the Business of ADP, that is valuable to ADP, and which
ADP endeavors to protect from disclosure or use by its competitors and others who could benefit from
its use, whether in written, tangible, electronic or any other form or media. Assuming the foregoing
criteria are met, Confidential Information includes but is not limited to information about: ADP's
operations, products, business plans, market strategies, and services; research and development of ADP
products and services; ADP's intellectual property and trade secrets; Creative Works, including all
publications, products, applications, processes, and software in any stage of development; names and
other listings of current or prospective Clients, Business Partners, and Vendors (including contact
information that may be compiled in computer databases that are not owned or controlled by ADP such
as address books, personal digital assistants, smart phones, cloud storage services, and social and
business websites); proposals made to current or prospective Clients, Business Partners, and Vendors or
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other information contained in offers or proposals to such Clients, Business Partners, and Vendors; the
terms of any arrangements or agreements with Clients, Business Partners, and Vendors, including the
amounts paid for such services or how pricing was developed by ADP, the implementation of Client-
specific projects, the identity of Business Partners and Vendors, and Business Partner and Vendor pricing
information, the composition or description of future services that are or may be provided by ADP;
ADP's financial, marketing, and sales information; technical expertise and know-how developed by
ADP, including the unique manner in which ADP conducts its business; employee lists, employee
capabilities, confidential personnel information, prospective employee information, and employee
training information and practices; Personally Identifiable Information; and Protected Health
Information. Confidential Information also includes any information disclosed to ADP by a third party
(including, without limitation, current or prospective Clients, Business Partners, and Vendors) that ADP
is obliged to treat as confidential. Confidential Information does not need to be marked in any way to
identify it as Confidential Information and does not lose its status as Confidential Information because
similar information may be so marked while other Confidential Information is not. This definition of
Confidential Information excludes information that is or becomes known or generally available in the
public domain through lawful means, other than through my act or failure to act. This definition of
Confidential Information and the use of the term Confidential Information in this Agreement are not
meant to limit ADP's rights under applicable trade secrets laws, and ADP specifically reserves all of its
rights under all applicable laws concerning trade secrets.

        f.     "Creative Works" means any and all works of authorship including, for example,
written documents, spreadsheets, graphics, designs, trademarks, service marks, algorithms, computer
programs or code, protocols, formulas, mask works, brochures, presentations, photographs, music or
compositions, manuals, reports, and compilations of various elements, whether or not patentable or
registrable under copyright, trademark, or similar domestic and international laws.

       g.       "Material Business Contact" means contact that is intended to establish or strengthen a
business relationship for ADP.

        h.     "Personally Identifiable Information" ("PII") is Confidential Information and
includes an individual's first name and last name or first initial and last name in combination with any
of the following: an individual's social security number, tax identification number, social insurance
number, driver's license number, government-issued identification card number, financial or bank
account information, healthcare information, or credit, debit or payroll card number.

        i.    "Protected Health Information" ("PHI") is Confidential Information and includes
information that is created, received, and/or maintained by the Company related to an individual's health
care (or payment related to health care) that directly or indirectly identifies the individual.

       j.     "Territory" means the geographic area where I worked, represented ADP, or had
Material Business Contact with ADP's Clients in the two (2) year period preceding the termination of
my employment with ADP.

        k.      "Vendors" means any individual, corporation, limited liability company, partnership,
joint venture, association, or other entity, regardless of form, or government entity that supplies materials
or services to ADP for internal use.

2.    Consideration and Effective Date. I acknowledge that in exchange for my participation in the
2018 Omnibus Award Plan and the receipt by me of valuable stock I am agreeing to the restrictions
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contained in this Restrictive Covenant Agreement. I acknowledge this consideration is fair and
reasonable. The restrictions in this Restrictive Covenant Agreement shall be effective 10 business days
after I accept this agreement and are not a condition of my continued employment by ADP.

3.      Duties and Best Efforts. I agree to provide to ADP and its Clients services related to the
Business of ADP, as directed by ADP in its sole discretion. During employment, I agree to devote my
full time and best efforts to ADP, not to provide to ADP's Clients or ADP's competitors the same or
similar services or products as those provided by ADP other than on behalf of ADP, and not to engage
in any other employment, consultant, or advisory relationship that is the same as, similar to, or related
to my duties with ADP or the Business of ADP or that otherwise creates a conflict of interest with ADP.
I also agree that I am prohibited from accessing any of ADP's Confidential Information, computer
systems, servers, drives, or databases for any competitive or conflicting purpose and that any
authorization for such access is revoked and prohibited by ADP once I engage in any competitive or
conflicting activities or take any material steps towards accomplishing any competitive or conflicting
activities. I further agree to not make any false or misleading statements regarding ADP or its products
or services, and agree to not make any false or misleading statements or take action to mislead ADP
regarding clients, prospective clients, business partners, or vendors, including falsifying documents.

4.      Non-Competition. I agree that during my employment and for a period of twelve (12) months
from the voluntary or involuntary termination of my employment for any reason or no reason, and with
or without cause or for no cause, I will not, directly or indirectly, own, manage, operate, join, control,
finance, be employed by or with, or participate in any manner with a Competing Business anywhere in
the Territory where I (i) will provide the same or similar services to a Competing Business as those
which I provided to ADP while employed, or (ii) use, disclose or disseminate ADP's Confidential
Information or trade secrets. However, after the voluntary or involuntary termination of my employment
for any reason and with or without cause, nothing shall prevent me from owning, as an inactive investor,
securities of any competitor of ADP which is listed on a national securities exchange.

5.       Non-Solicitation of and Non-Interference with Clients, Business Partners, and Vendors.

        a.      Clients: I agree that during my employment and for a period of twelve (12) months
following the voluntary or involuntary termination of my employment for any reason or no reason, and
with or without cause or for no cause, I will not, either on my own behalf or for any Competing Business,
directly or indirectly, solicit, divert, appropriate, or accept any business from, or attempt to solicit, divert,
appropriate, or accept any business from any Client, for the purpose of selling products or services that
compete with the Business of ADP: (i) whom I have solicited or contacted on behalf of ADP within the
two (2) year period prior to the termination of my employment with ADP, or (ii) about whom I have
learned or been provided any confidential, proprietary or trade secret information during my employment
with ADP.


        b.      Business Partners: I agree that during my employment and for a period of twelve (12)
months following the voluntary or involuntary termination of my employment for any reason or no
reason, and with or without cause or for no cause, I will not, either on my own behalf or for any
Competing Business, directly or indirectly, solicit, divert, appropriate, or accept any business from, or
attempt to solicit, divert, appropriate, or accept any business from any Business Partner: (i) whom I have
solicited or contacted on behalf of ADP within the two (2) year period prior to the termination of my
employment with ADP, or (ii) about whom I have learned or been provided any confidential, proprietary
or trade secret information during my employment with ADP.
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        c.      Vendors: I agree that during my employment and for a period of twelve (12) months
following the voluntary or involuntary termination of my employment for any reason or no reason, and
with or without cause or for no cause, I will not induce or encourage or attempt to induce or encourage
any Vendor to cease doing business with ADP within the United States of America or materially alter
their business relationship with ADP within the United States of America.

6.       Non-Solicitation of Employees. I agree that during my employment with ADP and for a period
of twelve (12) months following the voluntary or involuntary termination of my employment for any
reason or no reason, and with or without cause or for no cause, I will not, directly or indirectly, hire,
solicit, recruit, or encourage to leave ADP, any current employees of ADP or hire, solicit, recruit, or
contract with employees who terminate their employment with ADP within twelve (12) months
following my termination date. This restriction shall only apply to ADP employees located within the
United States of America.

7.      Non-Disclosure and Non-Use of Confidential Information and Trade Secrets. During my
employment, except as authorized and required to perform my duties for ADP, and after the voluntary
or involuntary termination of my employment for any reason or no reason, and with or without cause or
for no cause, I will not access, disclose, use, reproduce, distribute, or otherwise disseminate ADP's
Confidential Information or trade secrets or take any action causing, or fail to take any action necessary
in order to prevent, any such information to lose its character or cease to qualify as Confidential
Information or a trade secret. I agree to inquire with ADP if I have any questions about whether I am
authorized or required to access, disclose, use, reproduce, distribute, or otherwise disseminate ADP's
Confidential Information or whether particular information is Confidential Information or a trade secret
before accessing, using or disclosing such information. I also agree to immediately return to ADP all
property and information belonging to ADP such as keys, credit cards, telephones, tools, equipment,
computers, passwords, access codes, pin numbers, and electronic storage devices, as well as all originals,
copies, or other physical embodiments of ADP's Confidential Information or trade secrets (regardless of
whether it is in paper, electronic, or other form), including any such information in any programs,
business forms, manuals, correspondence, files, databases, or on computer disks or any other storage
medium, including but not limited to cloud storage, whether or not owned or controlled by me or ADP
(e.g., social and business networking websites, web-based email servers, Notability, or cloud storage
services), immediately upon termination of my employment or upon any earlier request by ADP, and I
agree not to keep, access, disclose, use, reproduce, distribute, or otherwise disseminate any copies,
electronic or otherwise, of any of the foregoing. I also understand that my obligations under this
paragraph, as well as the other covenants in this Agreement, extend to my activities on the internet,
including my use of business oriented social networking sites such as Linkedln and Facebook. This shall
include deleting any business related connections or contacts, including all ADP Clients and Business
Partners, that I inputted in or with whom I connected on any business oriented social networking sites,
my Linkedln account, any cloud storage, any electronic device, or any cell phones while employed at
ADP.

I understand that nothing in this Agreement is intended to prohibit any non-supervisory employee's right
to discuss wages, terms and conditions of employment, or other conduct protected by Section 7 of the
National Labor Relations Act.

Pursuant to 18 U.S.C. § 1833(b), and as set forth fully therein, notice is hereby given that an individual
shall not be held criminally or civilly liable under any federal or state trade secret law for the disclosure
of a trade secret that is made in confidence to a federal, state, or local government official, either directly
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or indirectly, or to an attorney, solely for the purpose of reporting or investigating a suspected violation
of law; or is made in a complaint or other document filed in a lawsuit or other proceeding, if such filing
is made under seal. An individual who files a lawsuit for retaliation by an employer for reporting a
suspected violation of law may disclose the trade secret to the attorney of the individual and use the trade
secret information in the court proceeding, if the individual files any document containing the trade
secret under seal and does not disclose the trade secret, except pursuant to court order.

I understand that nothing in this Agreement prohibits me from reporting possible violations of state or
federal law or regulation to any governmental agency or entity or from communicating with any such
agency or entity regarding the same or otherwise participate in any investigation or proceeding that may
be conducted by any government agency, including providing documents or other information, without
notice to ADP. This Agreement does not limit my right to receive an award for information provided to
any government agencies. I understand that nothing in this Agreement shall have the purpose or effect
of concealing details related to a claim of discrimination, retaliation, or harassment.


8.      Prior Agreements and Disclosure of Agreement to Third Parties. I agree to provide a copy
of this Agreement to any subsequent employer, person, or entity to which I intend to provide services
that may conflict with any of my obligations in this Agreement prior to engaging in any such activities
and to provide ADP in writing the name and address of any such employer, person, or entity and a
description of the services I intend to provide, including the territory in which I plan to work, prior to
engaging in any such activities. I agree that ADP may also provide a copy of this Agreement or a
description of its terms to any Client, subsequent employer, or other third party at any time as it deems
necessary to protect its interests, and I agree to indemnify ADP against any claims and hold ADP
harmless from any losses, costs, attorneys' fees, expenses, fees, and damages arising out of my failure
to comply with this paragraph or ADP's providing a copy of this Agreement or a description of its terms
to any Client, subsequent employer, or other third party.

9.      Severability and Reformation. I agree if any particular paragraph, subparagraph, phrase, word,
or other portion of this Agreement is determined by an appropriate court to be invalid or unenforceable
as written, it shall be modified as necessary to be made valid or enforceable, and such modification shall
not affect the remaining provisions of this Agreement, or if it cannot be modified to be made valid or
enforceable, then it shall be severed from this Agreement, and all remaining terms and provisions shall
remain enforceable. To the extent I live in a state that does not permit the application of New Jersey
law to this Agreement, I understand that certain provisions, such as paragraph 4, may be modified or
stricken from this Agreement so that this Agreement complies with the minimum requirements of a
particular state's law. As it relates to the practice of law, this Restrictive Covenant Agreement should
be interpreted consistent with the limitations imposed by the New Jersey Rules of Professional Conduct
and/or the Model Rules of Professional Conduct (or similar rules in other jurisdictions), including RPCs
5.6, 1.9, and 1.6. If any provision in this Agreement causes the acknowledgment of the Agreement to
violate any of the above-referenced RPCs as it relates to the practice of law, such provision(s) will be
deemed void and severed from the Agreement.

10.     Choice of Law, Venue, and Jurisdiction. To the extent permitted by the law of the state in
which I reside, the interpretation, validity, and enforcement of this Agreement will be governed by the
laws of the State of New Jersey, without regard to any conflicts of law principles. I agree that, to the
extent permitted by the law of the state in which I reside, any action by me to challenge the enforceability
of this Agreement must be brought or litigated exclusively in the appropriate state or federal court located
in the State of New Jersey. I also agree that any action by ADP to enforce this Agreement, as well as
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any related disputes or litigation related to this Agreement may be brought in the appropriate state or
federal court located in the State of New Jersey. T agree and consent to the personal jurisdiction and
venue of the federal or state courts of New Jersey for resolution of any disputes or litigation arising under
or in connection with this Agreement or any challenge to this Agreement and waive any objections or
defenses to personal jurisdiction or venue in any such proceeding before any such court.

11.     Survival. I acknowledge that my employment relationship with ADP is "terminable at will" by
either party and that ADP or I can terminate the relationship with or without cause and without following
any specific procedures. Nothing contained in this Agreement is intended to or shall be relied upon to
alter the "terminable at will" relationship between the parties. However, all non-competition, non-
solicitation, non-disclosure and non-use, non-recruiting, intellectual property, and Agreement disclosure
obligations under paragraphs four (4) through seven (7) of this Agreement shall survive the voluntary or
involuntary termination of my employment for any reason and with or without cause, and no dispute
regarding any other provisions of this Agreement or regarding my employment or the termination of my
employment shall prevent the operation and enforcement of these obligations.

12.      Relief, Remedies, and Enforcement. I acknowledge that ADP is engaged in a highly
competitive business, and the covenants and restrictions contained in this Agreement, including the
geographic and temporal restrictions, are reasonably designed to protect ADP's legitimate business
interests, including ADP goodwill and client relations, Confidential Information and trade secrets, and
the specialized skills and knowledge gained by me and ADP's other employees during our employment.
I acknowledge and agree that a breach of any provision of this Agreement by me will cause serious and
irreparable damage to ADP that will be difficult to quantify and for which a remedy at law for monetary
damages alone may not be adequate. Accordingly, I agree that if ADP should bring an action to enforce
its rights under this Agreement and ADP establishes that I have breached or threatened to breach any of
my obligations under this Agreement, ADP shall be entitled, in addition to all remedies otherwise
available in law or in equity, to a temporary restraining order, a preliminary injunction, and a permanent
injunction enjoining such breach or threatened breach in any court of competent jurisdiction without the
necessity of posting a surety bond, as well as an equitable accounting of all profits or benefits arising out
of any violation of this Agreement. I also agree that nothing in this Agreement shall be construed to
prohibit ADP from pursuing any and all other legal or equitable remedies available to it for breach of
any of the provisions of this Agreement, including the disgorgement of any profits, bonuses,
commissions, or fees realized by me, any subsequent employers, any business owned or operated by me
or to which I provide services, or any of my agents, heirs, or assigns. I also agree that that the knowledge,
skills, and abilities I possess at the time of commencement of my employment are sufficient to permit
me to earn a livelihood satisfactory to me without violating any provision of paragraphs four (4) through
seven (7) above, for example, by using such knowledge, skills, and abilities, or some of them, in the
service of business that is not competitive with ADP. I further agree to pay any and all legal fees,
including without limitation, all attorneys' fees, court costs, and any other related fees and/or
costs incurred by ADP in enforcing this Agreement.

13.     Tolling. The restricted time periods in paragraphs four (4) through six (6) above shall be tolled
during any time period that I am in violation of such covenants, as determined by a court of competent
jurisdiction, so that ADP may realize the full benefit of its bargain. This tolling shall include any time
period during which litigation is pending, but during which I have continued to violate such protective
covenants.

14.    Cooperation. During my employment, I shall cooperate with ADP in any internal investigation
or administrative, regulatory or judicial proceeding as reasonably requested by ADP (including, without
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limitation, being available to ADP upon reasonable notice for interviews and factual investigations,
appearing at ADP's request to give testimony without requiring service of a subpoena or other legal
process, volunteering to provide ADP all pertinent information and turning over to ADP all relevant
documents which are or may come into my possession, all at times and on schedules that are reasonably
consistent with my other permitted activities and commitments). In the event ADP requires my
cooperation in accordance with this Section, ADP shall reimburse me solely for reasonable travel
expenses (including lodging and meals, upon submission of receipts).

15.     Entire Agreement and Validity of Terms. I agree that I do not rely, and have not relied, upon
any representation or statement not set forth herein by ADP or any of ADP's agents, representatives, or
attorneys, and that this Agreement may be changed only by a subsequent agreement in writing signed
by both parties. I understand that I may have an existing agreement(s) with ADP, through acquisition
of a prior employer or otherwise, that may include the same or similar covenants as those in this
Agreement, and acknowledge that this Agreement is meant to supplement any such agreement(s) such
that the covenants in the agreements that provide ADP with the greatest protection enforceable under
applicable law shall control, and that the parties do not intend to create any ambiguity or conflict through
the execution of this Agreement that would release me from the obligations I have assumed under the
protective covenants in any of these agreements.

16.     Electronic Signature. I agree that ADP may enforce this Agreement with a copy for which I
have provided an electronic signature. I agree that my electronic signature, including my acceptance of
this agreement via a website is, is a valid signature by me.

17.     Assignment and Successorship. This Agreement and ADP's rights and obligations hereunder
may be assigned by ADP and shall inure to the benefit of and shall be enforceable by any such assignee,
as well as any of ADP's successors in interest. This Agreement and my rights and obligations may not
be assigned by me, but are binding upon my heirs, administrators, executors, and personal
representatives.

18.     Waiver. ADP's waiver of a breach of any provision of this Agreement in any particular instance
shall not be deemed to be a waiver of any other breach in any other instance and/or of ADP's other rights
at law, in equity, or under this Agreement. ADP's failure to take action against any other employee for
similar breaches shall not operate as a wavier by ADP of a breach as to me. Any waiver by ADP of any
breach of this Agreement by me shall not be effective unless in writing signed by the President of ADP,
and no such waiver with regards to me or any other person under a similar agreement shall operate or be
construed as a waiver of the same type of breach or any other breach on a subsequent occasion by me or
any other person or entity.

19.     Jury Trial Waiver. I agree that, to the fullest extent permitted by law, each party waives any
right to trial by jury with respect to any proceeding arising out of or relating to this Agreement.

20.     Opportunity to Review. I agree that I have read this Agreement before signing it, understand
its terms, and that I have had the opportunity to have legal counsel review this Agreement, prior to
signing it, and I acknowledge that I have not been forced or coerced in any manner to sign this Agreement
and do so of my own free will.


      After reviewing this document, close this window to continue the grant acceptance process.


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